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                     Exhibit 4




                     Exhibit 4
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·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · · · ·DISTRICT OF NEVADA

·3· ·LATIA ALEXANDER, individually ) Case No.: 2:24-cv-00074-APG-NJK
· · ·as heir of ISAIAH T. WILLIAMS,)
·4· ·and in her capacity as Special) DEPOSITION OF LATIA ALEXANDER
· · ·Administrator of the Estate of)· · FRIDAY, AUGUST 23, 2024
·5· ·ISAIAH T. WILLIAMS,· · · · · ·)· · · LAS VEGAS, NEVADA
· · · · · · · · · · · · · · · · · ·)
·6· · · · · · · · · · · · · · · · ·)
· · · · · · · · · · Plaintiff,· · ·)
·7· · · · · · · · · · · · · · · · ·)
· · · · · ·vs.· · · · · · · · · · ·)
·8· · · · · · · · · · · · · · · · ·)
· · ·LAS VEGAS METROPOLITAN· · · · )
·9· ·POLICE DEPARTMENT, a· · · · · )
· · ·political subdivision of the· )
10· ·State of Nevada; KERRY KUBLA, )
· · ·in his individual capacity;· ·)
11· ·BRICE CLEMENTS, in his· · · · )
· · ·individual capacity; ALEX· · ·)
12· ·GONZALES, in his individual· ·)
· · ·capacity; RUSSELL BACKMAN, in )
13· ·his individual capacity;· · · )
· · ·JAMES ROTHENBURG, in his· · · )
14· ·individual capacity; JAMES· · )
· · ·BERTUCCINI, in his individual )
15· ·capacity; and DOES I-XX,· · · )
· · ·inclusive,· · · · · · · · · · )
16· · · · · · · · · · · · · · · · ·)
· · · · · · · · · · Defendants.· · )
17· ·______________________________)
· · ·KERRY KUBLA,· · · · · · · · · )
18· · · · · · · · · · · · · · · · ·)
· · · · · · · · ·Counterclaimant,· )
19· · · · · · · · · · · · · · · · ·)
· · · · · ·vs.· · · · · · · · · · ·)
20· · · · · · · · · · · · · · · · ·)
· · ·LATIA ALEXANDER in her· · · · )
21· ·capacity as Special· · · · · ·)
· · ·Administrator of the Estate· ·)
22· ·of ISAIAH T. WILLIAMS,· · · · )
· · · · · · · · · · · · · · · · · ·)
23· · · · · · ·Counterdefendant.· ·)
· · ·______________________________)
24· ·Reported by: Mickey Marez, RPR, CRR, NV CCR No. 950
· · ·Firm No.: Mamba Reporting, #119F
25· ·Job No.: 1011


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·1· · · · · · · · · · ·LAS VEGAS, NEVADA;
· · · · · · · · · · ·FRIDAY, AUGUST 23, 2024
·2· · · · · · · · · · · · ·10:33 A.M.
· · · · · · · · · · · · · · * * * * *
·3· ·Whereupon,

·4· · · · · · ·(Off-the-record discussion held prior to the

·5· · · · · · ·commencement of the proceedings, counsel

·6· · · · · · ·agreed to waive the court reporter's

·7· · · · · · ·requirements under Rule 30(b)(5) of the

·8· · · · · · ·Nevada Rules of Civil Procedure.)

·9· · · · · · · · · · · LATIA ALEXANDER,

10· ·having been sworn to testify to the truth, the whole truth, and

11· ·nothing but the truth, was examined and testified under oath as

12· ·follows:

13· · · · · · · · · · · · · · -oOo-

14· · · · · · · · · · · · ·EXAMINATION

15· ·BY CRAIG ANDERSON, ESQ:

16· · · · Q.· ·Could I get you to state your name for the

17· ·record.

18· · · · A.· ·Latia Alexander.

19· · · · Q.· ·Do you mind if I call you Ms. Alexander and

20· ·call Isaiah "Isaiah," just for clarity?

21· · · · A.· ·That's fine.

22· · · · Q.· ·Okay.

23· · · · · · ·Ms. Alexander, have you ever had your

24· ·deposition taken before?

25· · · · A.· ·No.· But as a prior police officer, I had to


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·1· ·go through many recordings and also lie detector tests.
·2· · · · Q.· ·Okay.· That will be helpful.· So, you have a
·3· ·general understanding as to what we're doing here
·4· ·today; correct?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·Okay.· Have you had a chance to speak with
·7· ·your attorney about what we're going to do here today?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.· And I'm sure the chief has gone over
10· ·the rules of what we're doing.· But just very briefly,
11· ·what this is, is my one opportunity to speak with you
12· ·about the lawsuit you filed on behalf of yourself and
13· ·your son against the Las Vegas Metropolitan
14· ·Police Department and several officers.· Do you
15· ·understand that?
16· · · · A.· ·Yes.
17· · · · Q.· ·Okay.
18· · · · · · ·What this will be is a question-and-answer
19· ·period where I ask questions and you give answers.· To
20· ·my right is a court reporter.· He is taking down
21· ·everything you and I say.
22· · · · · · ·So, although we're going to end up in a
23· ·conversation and I'm going to ask questions where you
24· ·know exactly where I'm going or what information I'm
25· ·seeking, please allow me to finish my question and I'll


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·1· ·allow you to finish your answer before we talk over
·2· ·each other.· Okay?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·And that's for the benefit of the court
·5· ·reporter.· Because it's hard if we get talking over one
·6· ·another.
·7· · · · · · ·The same thing is if you ever shake your head
·8· ·or nod, I may understand what you're saying, but I will
·9· ·say, "Was that a 'yes,' was that a 'no,'" simply so he
10· ·gets a verbal response to the question.· Okay?
11· · · · A.· ·Yes.
12· · · · Q.· ·When the deposition is done, you'll be
13· ·provided a copy of what we talked about here today.
14· ·And you can make any changes to that deposition you
15· ·want.· But I would caution you that if you make any
16· ·substantive changes, which means like an important
17· ·change to an answer, I would be able to comment on that
18· ·at the time of trial or arbitration and either say that
19· ·it reflects poorly upon your credibility or your
20· ·memory.· Does that make sense to you?
21· · · · A.· ·Yes.
22· · · · Q.· ·Okay.
23· · · · · · ·So, when I ask you a question and because
24· ·you're also testifying on behalf of Isaiah, I may ask
25· ·you questions that you don't know the answer to.· It's


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·1· ·perfectly fine to say, "I don't know," or, "I don't
·2· ·remember."· Okay?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·If you do answer the question, I'm going to
·5· ·assume that that's based upon personal knowledge.
·6· ·Okay?
·7· · · · A.· ·Yes.
·8· · · · Q.· ·So, don't guess, don't speculate.· If
·9· ·something -- you don't know the answer to or you don't,
10· ·you know, have any personal information, just say, "I
11· ·don't know," or, "I don't have any information."· Okay?
12· · · · A.· ·Okay.· Yes, understood.
13· · · · Q.· ·I do not take long depositions.· This may go
14· ·two hours.· Okay?· But if at any time during this
15· ·process you want to use the restroom, speak with your
16· ·attorney, step outside for a minute, just let me know
17· ·and we can make that happen.· Okay?
18· · · · A.· ·Yes.
19· · · · Q.· ·You understand that you've taken an oath to
20· ·tell the truth?
21· · · · A.· ·Yes.
22· · · · Q.· ·Okay.· And that's the same oath that you
23· ·would take in a court of law.· Okay?
24· · · · A.· ·(Moving head up and down.)
25· · · · Q.· ·Now, there's not a judge here to rule upon my


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·1· ·questions or your answers.· But your attorney may lodge
·2· ·objections during this deposition.· If she speaks, let
·3· ·her state exactly what she wants to say and then she
·4· ·and I can talk about it, but you will likely have to
·5· ·answer the question unless she tells you not to.· Okay?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·And I understand that we're going to be
·8· ·speaking about some sensitive topics here.· It is
·9· ·certainly not my intent to embarrass you.· It is not my
10· ·intent to make you sad.· But because of the nature of
11· ·this litigation, there will be difficult moments.· And
12· ·so, I just hope you know, I don't intend to pry or be
13· ·unduly burdensome on you.· Okay?
14· · · · A.· ·Okay.· Thank you.
15· · · · Q.· ·And along those lines, if you ever, you know,
16· ·need to take a break to collect yourself, just let me
17· ·know.· We can stop at any time.
18· · · · A.· ·(Moving head up and down.)
19· · · · Q.· ·Do you have any questions about what we're
20· ·going to do here today?
21· · · · A.· ·Not at the moment.
22· · · · Q.· ·Okay.
23· · · · · · ·Are you on any medication?
24· · · · A.· ·No.
25· · · · Q.· ·Okay.· Have you drank any alcohol today?


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·1· · · · A.· ·No.
·2· · · · Q.· ·Okay.· Have you taken any drugs?
·3· · · · A.· ·No.
·4· · · · Q.· ·Do you have any trouble understanding me?
·5· · · · A.· ·No.
·6· · · · Q.· ·If I do ask a question that doesn't make
·7· ·sense, just tell me that.· Say, "I don't understand
·8· ·your question," okay, then I'll rephrase it in a form
·9· ·hopefully that you'll be able to understand.· Okay?
10· · · · A.· ·Okay.
11· · · · Q.· ·Let's start with you.· What is your date of
12· ·birth?
13· · · · A.· ·11/20/1982.
14· · · · Q.· ·What is your current address?
15· · · · A.· ·3040 Balcones, it's B-a-l-c-o-n-e-s; Fault,
16· ·that's F-a-u-l-t, Avenue, North Las Vegas 89081.
17· · · · Q.· ·How long have you lived at that address?
18· · · · A.· ·About five years.
19· · · · Q.· ·Okay.· Were you living there at the time of
20· ·the incident?
21· · · · A.· ·Yes.
22· · · · Q.· ·Okay.· If anyone, who was living with you at
23· ·the time of the incident?
24· · · · A.· ·Four kids -- four of my kids and myself.
25· · · · Q.· ·How long have you lived in Las Vegas?


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·1· · · · A.· ·Eight years.
·2· · · · Q.· ·So, you came here in roughly --
·3· · · · A.· ·2016.
·4· · · · Q.· ·2015 -- '16?· Okay.
·5· · · · · · ·Where were you born?
·6· · · · A.· ·Cleveland, Ohio.
·7· · · · Q.· ·Have you ever been married?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·How many times?
10· · · · A.· ·One.
11· · · · Q.· ·And what was the name of your husband or --
12· · · · A.· ·Harold Johnson.
13· · · · Q.· ·Okay.· When did -- how did the marriage --
14· ·how did the marriage to Harold end?
15· · · · A.· ·I divorced him.
16· · · · Q.· ·Okay.· What year did you divorce?
17· · · · A.· ·2020.
18· · · · Q.· ·Okay.· And then how many children do you
19· ·have?
20· · · · A.· ·Six.
21· · · · Q.· ·Okay.· And I'm not going to -- this isn't a
22· ·test, but can you give me their names and ages?· I got
23· ·six brothers and sisters, too.· Okay?· So, I'm
24· ·sympathetic to this question.
25· · · · A.· ·Okay.· So, we're going to start with


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·1· ·Christopher Sutton.· That's the oldest.
·2· · · · Q.· ·Okay.
·3· · · · A.· ·He's 25.
·4· · · · Q.· ·And did you say Sutton?
·5· · · · A.· ·Sutton, S-u-t-t-o-n.
·6· · · · Q.· ·Okay.
·7· · · · A.· ·Oh, did you get the age, 25.
·8· · · · Q.· ·25.· Thank you.
·9· · · · A.· ·And then you have Isaiah.
10· · · · Q.· ·Okay.· And he's Williams?
11· · · · A.· ·Correct.· And he was 19.
12· · · · Q.· ·Okay.
13· · · · A.· ·Then you have Ta'nya.· It's T-a, apostrophe,
14· ·-n-y-a.
15· · · · Q.· ·Okay.
16· · · · A.· ·Johnson.· She is 20.
17· · · · Q.· ·Okay.
18· · · · A.· ·And then you have Chasity, C-h-a-s-i-t-y,
19· ·Johnson.· She is 18.
20· · · · Q.· ·Okay.
21· · · · A.· ·Then you have Rashad, R-a-s-h-a-d, Jones.
22· ·He's 14.
23· · · · Q.· ·Okay.
24· · · · A.· ·And then you have Sean, S-e-a-n, Johnson.
25· ·And he is six.


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·1· · · · Q.· ·Okay.· What was Harold's last name?
·2· · · · A.· ·Johnson.
·3· · · · Q.· ·Okay.· Who is Isaiah's father?
·4· · · · A.· ·Kemal Johnson.· K-e-m-a-l, Johnson.
·5· · · · Q.· ·And is your maiden name -- how does -- how
·6· ·did Isaiah get the last name Williams?
·7· · · · A.· ·So, my mom's last name is Williams.· So,
·8· ·growing up, until I was 18, I went by Williams.· Then
·9· ·when I went to get my driver's license, they said, "Oh,
10· ·your Social Security card says Alexander, you need to
11· ·go by Alexander."· So, he was already born before I did
12· ·the whole license thing.
13· · · · Q.· ·Okay.
14· · · · A.· ·And then he ended up with the Williams with
15· ·my mom.
16· · · · Q.· ·Okay.
17· · · · · · ·Is it Kemal?
18· · · · A.· ·Kemal.
19· · · · Q.· ·Kemal.· Okay.· Is he still alive?
20· · · · A.· ·Yes.
21· · · · Q.· ·Okay.· Did he have any involvement in
22· ·Isaiah's life?
23· · · · A.· ·He did.
24· · · · Q.· ·Okay.· Is he aware of this lawsuit?
25· · · · A.· ·Yes, he is.


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·1· · · · Q.· ·Okay.· How involved was he in Isaiah's life?
·2· · · · A.· ·So, I'm -- before I moved to Vegas in 2016,
·3· ·he would go spend the weekends and, you know,
·4· ·periodically pick him up from school.· Just weekends.
·5· · · · Q.· ·Okay.· And was that -- what city was that in?
·6· · · · A.· ·Cleveland.
·7· · · · Q.· ·Cleveland?· Okay.
·8· · · · A.· ·Yes.
·9· · · · Q.· ·So, he -- Mr. Johnson lives in Cleveland?
10· · · · A.· ·Correct -- well, Akron, Ohio right now.
11· · · · Q.· ·Okay.· So, he had, like, a weekend
12· ·relationship with Isaiah?
13· · · · A.· ·Correct.
14· · · · Q.· ·And then when -- that ceased when you moved
15· ·to Las Vegas?
16· · · · A.· ·Correct.
17· · · · Q.· ·Did he have any orders for child support or
18· ·anything that he -- for you?
19· · · · A.· ·Yes.
20· · · · Q.· ·Okay.· And was he up on those?
21· · · · A.· ·Yes.
22· · · · Q.· ·Kind of?
23· · · · A.· ·Yeah.
24· · · · Q.· ·And just if you know:· Did he have any
25· ·interest in joining this lawsuit?


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·1· · · · A.· ·No.
·2· · · · Q.· ·Okay.· But he's aware it's going on?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·Do you have regular contact with him?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·Okay.· Are any of your other children from
·7· ·Mr. Johnson?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.
10· · · · A.· ·Ta'nya and Chasity.
11· · · · Q.· ·Okay.· Who were the four children living with
12· ·you at the time of this incident?
13· · · · A.· ·Ta'nya, Chasity, Rashad, and Sean.
14· · · · Q.· ·Okay.· Now, you may not know the answer to
15· ·this, so if you don't know the answer, say "I don't
16· ·know," do you intend on calling any of them as
17· ·witnesses in this lawsuit on your behalf?
18· · · · A.· ·No.
19· · · · Q.· ·Okay.
20· · · · · · ·And so, Ta'nya and Chasity would have been
21· ·full brother and sister -- full siblings --
22· · · · A.· ·Correct.
23· · · · Q.· ·-- with Isaiah?· Okay.
24· · · · · · ·And then Rashad and Sean would be half
25· ·siblings?


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·1· · · · A.· ·Correct.
·2· · · · Q.· ·Kind of?
·3· · · · A.· ·They don't have the same dad, yes.
·4· · · · Q.· ·Okay.· Did they have any type of independent
·5· ·relationship with Isaiah?· Like, did they -- with their
·6· ·brother?
·7· · · · A.· ·Independent?· Can you be more --
·8· · · · Q.· ·Like, were they close?
·9· · · · A.· ·Yes, very close.
10· · · · Q.· ·Okay.
11· · · · · · ·Who, if anyone, still lives with you now?
12· · · · A.· ·Just Rashad and Sean.
13· · · · Q.· ·And at the time of this incident, were you
14· ·the sole provider for that family?
15· · · · A.· ·Yes.
16· · · · Q.· ·What's the highest level of education that
17· ·you've received?
18· · · · A.· ·Some college.
19· · · · Q.· ·Okay.· Graduate high school, then?
20· · · · A.· ·Yes.
21· · · · Q.· ·Okay.· In Cleveland?
22· · · · A.· ·Yes.
23· · · · Q.· ·What year did you graduate?
24· · · · A.· ·20- -- 2006.
25· · · · Q.· ·And then where did you attend college?


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·1· · · · A.· ·I went to multiple colleges.
·2· · · · Q.· ·Okay.
·3· · · · A.· ·Last college is CSN.· So, here in Las Vegas.
·4· · · · Q.· ·Have you obtained any degrees or
·5· ·certificates?
·6· · · · A.· ·Certificates, I graduated from the police
·7· ·academy.· That was in 2012.· Nursing assistant, that
·8· ·was in 2007.· That's it.
·9· · · · Q.· ·I believe you have a real estate license,
10· ·too?
11· · · · A.· ·I do have a real estate license.
12· · · · Q.· ·Okay.· I was going to say, you have quite a
13· ·colorful employment history.
14· · · · A.· ·Thank you.
15· · · · Q.· ·Yes, yes.· Very interesting.
16· · · · · · ·You're currently employed?
17· · · · A.· ·Yes.
18· · · · Q.· ·And where do you work at?
19· · · · A.· ·I'm a flight attendant and I just enlisted
20· ·with the United States Army.
21· · · · Q.· ·Good for you.· Why did you enlist in the --
22· ·this probably has nothing to do with the lawsuit.· But
23· ·why did you enlist in the army?
24· · · · A.· ·Well, Isaiah was going to enlist in the army.
25· ·And so, I just thought about it and said I'll just go


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·1· ·for it and live on his --
·2· · · · Q.· ·So, do you go to basic training and all that
·3· ·now?
·4· · · · A.· ·I do.· I leave on the 9th.
·5· · · · Q.· ·Okay.· Where are you going to go to basic
·6· ·training?
·7· · · · A.· ·Fort Sill.· So, Oklahoma.
·8· · · · Q.· ·Oh.· Enjoy that.
·9· · · · · · ·What's the endgame with that?· What do you
10· ·hope to do with the army?
11· · · · A.· ·I intend to be a pilot and fly.· That's the
12· ·endgame.
13· · · · Q.· ·Good deal.
14· · · · · · ·Now, just -- if you don't know, you don't
15· ·know -- are you making any type of lost wages claim in
16· ·this lawsuit?· So, let me explain that to you.· Are you
17· ·claiming that as a result of Isaiah's passing, you were
18· ·unable to work or unable to pursue certain career
19· ·goals?
20· · · · A.· ·No.
21· · · · Q.· ·Okay.
22· · · · · · ·At the time of Isaiah's death, what job were
23· ·you working?
24· · · · A.· ·Real estate.
25· · · · Q.· ·Okay.


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·1· · · · A.· ·Just real estate.
·2· · · · Q.· ·And when you go to basic training, do your
·3· ·kids go with you?
·4· · · · A.· ·No.
·5· · · · Q.· ·So, what are they going to do?
·6· · · · A.· ·They're going to stay at home.
·7· · · · Q.· ·Okay.
·8· · · · A.· ·Yeah.
·9· · · · Q.· ·Who's going to take care of them?
10· · · · A.· ·So, I'm married.
11· · · · Q.· ·Oh, okay.
12· · · · A.· ·So, the husband.
13· · · · Q.· ·What's your husband's first name?
14· · · · A.· ·Jeremy.
15· · · · Q.· ·Okay.· Did you know Jeremy prior to Isaiah's
16· ·passing?
17· · · · A.· ·Yes.
18· · · · Q.· ·Okay.· How long have you been with Jeremy?
19· · · · A.· ·About a year.
20· · · · Q.· ·And so, how did he know Isaiah prior to the
21· ·incident?
22· · · · A.· ·We were friends first.
23· · · · Q.· ·Okay.· Did he have any relationship with
24· ·Isaiah?
25· · · · A.· ·He did.


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·1· · · · Q.· ·And how would you describe that relationship?
·2· · · · A.· ·They were close.· Because Jeremy just --
·3· ·again, he was just a -- just a friend, at first.· So,
·4· ·he would talk to Isaiah a lot, give him a lot of
·5· ·advice.· But they were close.
·6· · · · Q.· ·Just if you know, do you intend to call
·7· ·Jeremy as a witness in this lawsuit?
·8· · · · A.· ·No.
·9· · · · Q.· ·So, although your employment career is rather
10· ·interesting, I'll skip most of it because I just don't
11· ·think it's relevant.· But tell me about your life as a
12· ·police officer.· How long were you a police officer
13· ·with the City of East Cleveland?
14· · · · A.· ·Four and a half years.
15· · · · Q.· ·Why did you become a police officer?
16· · · · A.· ·Community policing, really.· Just wanted to
17· ·do the whole community policing thing.
18· · · · Q.· ·Did you have to go through an academy?
19· · · · A.· ·I did.
20· · · · Q.· ·How long was the academy?
21· · · · A.· ·About four and a half, five months.
22· · · · Q.· ·And was that in Cleveland?
23· · · · A.· ·Yes.· Cleveland Heights.
24· · · · Q.· ·Okay.· And you passed and became a police
25· ·officer?


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·1· · · · A.· ·Yes.
·2· · · · Q.· ·Okay.· And how long -- and you worked as a
·3· ·police officer for four and a half years?
·4· · · · A.· ·Correct.
·5· · · · Q.· ·What was the highest rank you obtained?
·6· · · · A.· ·Just patrol.
·7· · · · Q.· ·Okay.· I wouldn't say just patrol.
·8· · · · A.· ·Well, patrol.
·9· · · · · · ·CORRINE MURPHY, ESQ.:· Craig represents a lot
10· ·of police officers.
11· · · · · · ·CRAIG ANDERSON, ESQ:· Patrol's the hardest
12· ·job.· Okay?
13· · · · · · ·THE WITNESS:· Yeah.
14· · · · · · ·CORRINE MURPHY, ESQ.:· It's the dirtiest one.
15· ·BY CRAIG ANDERSON, ESQ:
16· · · · Q.· ·So, you did calls for service, all the fun
17· ·stuff, huh?
18· · · · A.· ·I did calls for service.· I also did SWAT.
19· ·Because it was a smaller police department, so we had
20· ·our hands in everything.· We was pretty much all hands
21· ·on deck.
22· · · · Q.· ·Yes, okay.· So, how many commissioned
23· ·officers were there in the City of East Cleveland?
24· · · · A.· ·I'm not sure.
25· · · · Q.· ·Okay.· Under 100?


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·1· · · · A.· ·Under 100.
·2· · · · Q.· ·Okay.· And so -- and I understand how those
·3· ·departments work.· So, you had -- wore many hats?
·4· · · · A.· ·Correct.
·5· · · · Q.· ·Okay.· And did you say that you were on the
·6· ·SWAT team?
·7· · · · A.· ·I was a part of the SWAT team.· I wouldn't
·8· ·say I was on the SWAT team.· But I did two maneuvers --
·9· ·two SWAT -- we call them SWAT maneuvers.
10· · · · Q.· ·Okay.· And would those be raids or service of
11· ·warrants?· What were the two maneuvers that you did?
12· · · · A.· ·One was a raid.
13· · · · Q.· ·Okay.
14· · · · A.· ·As a matter of fact, it was three SWAT
15· ·maneuvers.· But one was a raid for drugs.· The other
16· ·one was -- it just happened to be the same day.· We got
17· ·a call that somebody was shooting.· And then we ended
18· ·up responding to that and surrounding the house for
19· ·that.
20· · · · Q.· ·Okay.
21· · · · A.· ·And then the other one was a patient -- a
22· ·mental -- mental illness.
23· · · · Q.· ·Okay.· Now, to be part of the SWAT team, did
24· ·you have to undergo specific SWAT training?
25· · · · A.· ·Yes.


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·1· · · · Q.· ·Okay.
·2· · · · A.· ·Yeah, just qualifying with your weapon more.
·3· · · · Q.· ·I'm sorry?
·4· · · · A.· ·Qualifying with your weapon.
·5· · · · Q.· ·Okay.· Qualifying with your weapon.
·6· · · · · · ·Did you receive any training on the service
·7· ·of warrants or no-knock warrants?
·8· · · · A.· ·No.
·9· · · · Q.· ·Okay.
10· · · · · · ·In the three SWAT tasks you performed --
11· ·well, let me just back that up.· Strike that question.
12· · · · · · ·In your four and a half years, did you ever
13· ·have to fire your weapon?
14· · · · A.· ·No.
15· · · · Q.· ·On the SWAT raid for drugs you were talking
16· ·about, did you forcefully enter a premises?
17· · · · A.· ·They did.
18· · · · Q.· ·Did that occur day or night?
19· · · · A.· ·Night.
20· · · · Q.· ·Okay.· And was that a successful operation?
21· · · · A.· ·Yes.
22· · · · Q.· ·And what was your role in that operation?
23· · · · A.· ·I was the officer that was in the front of
24· ·the house.· Basically, my role was to -- if the suspect
25· ·was to run out, then we would apprehend.· And then


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·1· ·after we entered the home, there was kids that was in
·2· ·the home.· I sat with the kids.
·3· · · · Q.· ·Okay.· So, you were not part of the entry
·4· ·team, you were part of the containment team?
·5· · · · A.· ·Correct.
·6· · · · Q.· ·Okay.
·7· · · · · · ·Why did you cease to be a police officer with
·8· ·the City of East Cleveland?
·9· · · · A.· ·I moved to Las Vegas.
10· · · · Q.· ·What was the reason you moved to Las Vegas?
11· · · · A.· ·Weather.
12· · · · Q.· ·I don't think anyone ever says they're going
13· ·to move to Las Vegas; right?
14· · · · A.· ·Yeah.
15· · · · Q.· ·So, just one day you decided to move here
16· ·because it's hot?
17· · · · A.· ·Yes.· Exactly.· I came here and visiting, I
18· ·was like, "Oh, it's nice."
19· · · · Q.· ·We have one attorney here from Cleveland and
20· ·that's kind of what he said, too.· So...
21· · · · · · ·So, did you know anybody in Las Vegas?
22· · · · A.· ·I did not.
23· · · · Q.· ·Okay.· Any part of the job that you -- did
24· ·you like being a police officer?
25· · · · A.· ·I did.


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·1· · · · Q.· ·Okay.· When you moved out here, did you think
·2· ·about being a police officer?
·3· · · · A.· ·I did.
·4· · · · Q.· ·Did you take any steps to do that?
·5· · · · A.· ·I did.
·6· · · · Q.· ·What did you do?
·7· · · · A.· ·I applied for North Las Vegas Police
·8· ·Department.· I did the physical.· And then the
·9· ·background check, I got disqualified.· I applied for
10· ·Metro.· I did not go past the written exam and state --
11· ·no, Deputy Marshal, I actually had applied.· I was in
12· ·the hiring process before I moved to Las Vegas with
13· ·them.· And then I didn't get -- I got disqualified from
14· ·them, as well.
15· · · · Q.· ·What was the reason for the disqualification?
16· · · · A.· ·They said something about -- in the lie
17· ·detecter test, they asked me a question, it didn't come
18· ·back the way they wanted it to come back.· So, they
19· ·disqualified me for that.
20· · · · Q.· ·Hmm.· Okay.
21· · · · A.· ·And then North Las Vegas was -- then I got
22· ·pulled over by a police officer for running a red light
23· ·and I -- that disqualified me.
24· · · · Q.· ·Really?
25· · · · A.· ·(Moving head up and down.)


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·1· · · · Q.· ·I guess I can't be a cop.· No, I know it's
·2· ·crazy.· The lie detecter test is crazy, too, huh?· The
·3· ·questions they ask you?
·4· · · · A.· ·Yeah.
·5· · · · Q.· ·Yeah, I don't know that I can pass that.
·6· ·Even telling the truth.
·7· · · · · · ·Okay.· And so, kind of given up on that?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.
10· · · · · · ·Ever been convicted of a felony?
11· · · · A.· ·No.
12· · · · Q.· ·Okay.· Besides traffic citations, ever been
13· ·arrested?
14· · · · A.· ·No.
15· · · · Q.· ·Okay.
16· · · · · · ·Prior to the incident we're here to talk
17· ·about, did you ever have any encounters with anything
18· ·from just the Las Vegas Metropolitan Police Department?
19· · · · A.· ·No.
20· · · · Q.· ·Ever been pulled over, anything?
21· · · · A.· ·Pulled over, yes.· I don't think that was
22· ·before the incident, though.· It might have been after.
23· ·That was definitely after the incident.
24· · · · Q.· ·For just, like, a traffic infraction?
25· · · · A.· ·Yes.


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·1· · · · Q.· ·Okay.
·2· · · · A.· ·Yes.
·3· · · · Q.· ·Anything unusual -- since it was after the
·4· ·incident, did they know who you were?
·5· · · · A.· ·No.
·6· · · · Q.· ·Okay.· And anything about your personal
·7· ·interactions with the Las Vegas Metropolitan
·8· ·Police Department, excluding what we're here to talk
·9· ·about, that you had any complaints with prior to the
10· ·incident?
11· · · · A.· ·You said prior to the incident?
12· · · · Q.· ·Prior to, yeah.
13· · · · A.· ·No.
14· · · · Q.· ·Okay.· Excluding our incident, and I'll give
15· ·you a chance to talk all you want about it, have you
16· ·had any negative experiences with the Las Vegas
17· ·Police Department outside of Isaiah's incident?
18· · · · A.· ·Besides the traffic stop that I had?· Yeah,
19· ·but I had a conversation with the officer.· That was
20· ·pretty negative.· Because he was yelling and screaming
21· ·for me to put my hands on the steering wheel and roll
22· ·my windows down.· And I didn't understand what was the
23· ·point of that.
24· · · · · · ·And I asked him, did he run my plate and he
25· ·said no.· I didn't understand, "How did you -- why were


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·1· ·you so aggressive and you hadn't even ran the plate
·2· ·yet."· Yeah, that was pretty much the only negative.
·3· · · · Q.· ·Okay.· Did you receive a ticket for anything
·4· ·on that?
·5· · · · A.· ·I did not.
·6· · · · Q.· ·Okay.· And do you -- why did he pull you
·7· ·over?
·8· · · · A.· ·He claims that I ran a stop sign.
·9· · · · Q.· ·Oh, okay.
10· · · · A.· ·Which I did not.· Because I had to stop and
11· ·make a complete stop.· Because it was foggy that day
12· ·and I couldn't see.· So, I stopped because I couldn't
13· ·see where we were at, if I could go left or right.· It
14· ·was kind of, like, blocked.· And so, yeah.
15· · · · Q.· ·Okay.· But he let you go, but was rude to you
16· ·during the stop?
17· · · · A.· ·Oh, yes.
18· · · · Q.· ·Well, just so you know, I got stopped once
19· ·during a deposition doing this.· I went to lunch, got
20· ·stopped, didn't have my insurance with me.· They told
21· ·me -- and I even said I was doing a -- can you drive me
22· ·back --
23· · · · · · ·CRAIG ANDERSON, ESQ:· Here go off the record.
24· · · · · · ·(Pause in the proceedings.)
25· · · · · · ·CRAIG ANDERSON, ESQ:· Back on.· Sorry.


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·1· · · · · · ·CORRINE MURPHY, ESQ.:· Sorry.· No, you're
·2· ·good.
·3· ·BY CRAIG ANDERSON, ESQ:
·4· · · · Q.· ·Have you ever filed any prior lawsuits?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·Okay.· What for?
·7· · · · A.· ·I was in, like, the eighth grade and the
·8· ·waitress spit in our food.
·9· · · · Q.· ·Oh, okay.· And so, that was, like, a family
10· ·lawsuit against the --
11· · · · A.· ·Yes.
12· · · · Q.· ·Okay.· Any -- but you never had to give a
13· ·deposition?
14· · · · A.· ·No.
15· · · · Q.· ·Okay.· And was that in Cleveland?
16· · · · A.· ·Yes.
17· · · · Q.· ·Okay.· Any other lawsuits?
18· · · · A.· ·No.
19· · · · Q.· ·Ever been sued?
20· · · · A.· ·No.
21· · · · Q.· ·When you were on the police department, were
22· ·you ever involved in an incident that a lawsuit
23· ·followed?
24· · · · A.· ·No.
25· · · · Q.· ·So, now I want to get some information on


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·1· ·Isaiah's background.· Okay?
·2· · · · A.· ·Okay.
·3· · · · Q.· ·So, if you don't know the information, just
·4· ·say, "I don't know."· What was his full name?
·5· · · · A.· ·Isaiah, I-s-a-i-a-h, Tyree Williams.
·6· · · · Q.· ·Okay.· Where was he born?
·7· · · · A.· ·Cleveland, Ohio -- well, Akron, Ohio.
·8· · · · Q.· ·And did he live continuously with you in Ohio
·9· ·until you moved to Las Vegas?
10· · · · A.· ·Yes.
11· · · · Q.· ·Okay.· He lived with you his whole life until
12· ·roughly November of 2021; right?
13· · · · A.· ·Yes.
14· · · · Q.· ·Did he go by any nicknames?
15· · · · A.· ·Zay, Z-a-y.
16· · · · Q.· ·Is that a family nickname or a friend
17· ·nickname?
18· · · · A.· ·Friend nickname.
19· · · · Q.· ·What was his date of birth?
20· · · · A.· ·11/17/2002.
21· · · · Q.· ·So, was he 19 years old?
22· · · · A.· ·He was 19, correct.
23· · · · Q.· ·What was the highest level of education
24· ·Isaiah received?
25· · · · A.· ·High school diploma.


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·1· ·Q.· ·Where from?
·2· ·A.· ·C.O. Bastian, B-a-s-t-i-a-n.
·3· ·Q.· ·And is that here in Las Vegas?
·4· ·A.· ·It's in Nevada.
·5· ·Q.· ·Okay.· What type of high school is that?
·6· ·A.· ·It's a juvenile detention high school.
·7· ·Q.· ·Where did Isaiah start high school?
·8· ·A.· ·Mojave, Mojave High School.
·9· ·Q.· ·Okay.· And how long did he attend Mojave?
10· ·A.· ·Two years.
11· ·Q.· ·And what was his reason for leaving Mojave?
12· ·A.· ·We moved down the street.
13· ·Q.· ·Okay.· And then where did he go?
14· ·A.· ·Legacy High School.
15· ·Q.· ·How long did he attend Legacy?
16· ·A.· ·One year.
17· ·Q.· ·And --
18· ·A.· ·But then he went back to Mojave.
19· ·Q.· ·Okay.· And how did he end up at Bastian?
20· ·A.· ·Joyriding.
21· ·Q.· ·Okay.
22· ·A.· ·With a group of friends.
23· ·Q.· ·Is that the stolen car incident?
24· ·A.· ·Yes.
25· ·Q.· ·Okay.


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·1· · · · A.· ·Are you -- the stolen car incident from when
·2· ·he was a juvenile?
·3· · · · Q.· ·Yes, the juvenile one.
·4· · · · A.· ·Okay.· Yes.
·5· · · · Q.· ·Okay.· So, there was an incident where he was
·6· ·in a car that was stolen; right?
·7· · · · A.· ·Correct.
·8· · · · Q.· ·Okay.· And is that the reason that he had to
·9· ·go to the juvenile detention high school?
10· · · · A.· ·Yes.
11· · · · Q.· ·Okay.· Did he plead guilty to that?· Did he
12· ·go to trial?
13· · · · · · ·CORRINE MURPHY, ESQ.:· I'm sorry, I'm just
14· ·going to do one objection as to relevance and the
15· ·scope, just because he was a juvenile then.
16· ·BY CRAIG ANDERSON, ESQ:
17· · · · Q.· ·Understood.· Yeah.
18· · · · · · ·CORRINE MURPHY, ESQ.:· But you still answer,
19· ·sorry.
20· ·BY CRAIG ANDERSON, ESQ:
21· · · · Q.· ·Yeah, and this is where I'm not trying to
22· ·pry, I'm just trying to get a foundation for stuff.
23· ·Okay?· I'm not going to go deep into this stuff.· And
24· ·we can probably do it this way:· As a juvenile, he was
25· ·arrested for being in a stolen car; correct?


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·1· · · · A.· ·Yes.
·2· · · · Q.· ·Okay.· And then he was put on some form of
·3· ·probation?
·4· · · · A.· ·Yes.
·5· · · · Q.· ·Okay.
·6· · · · · · ·How old was he when that happened?
·7· · · · A.· ·About 17.
·8· · · · Q.· ·Okay.· Was he still on probation at the time
·9· ·of our incident?
10· · · · A.· ·Yes.
11· · · · Q.· ·Okay.· Do you know how long his probation was
12· ·for?
13· · · · A.· ·I do not.
14· · · · Q.· ·Do you know if he was in compliance with his
15· ·probation?
16· · · · A.· ·He was.· He -- he had just got on probation,
17· ·like, in -- he never got to even see his probation
18· ·officer because this incident happened.
19· · · · Q.· ·Was there ever any other time before November
20· ·of 2021 that he moved out of your house?
21· · · · A.· ·No.
22· · · · Q.· ·And did Isaiah ever work a job, to your
23· ·knowledge?
24· · · · A.· ·No.
25· · · · Q.· ·Okay.· So, you were his full support?


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·1· · · · A.· ·Yes.
·2· · · · Q.· ·Now, I noticed in some of the text messages
·3· ·between you and Isaiah that he offered to give you
·4· ·money at times.· Do you know where he received that
·5· ·money?
·6· · · · A.· ·Yeah.· So, Isaiah would do -- like, he would
·7· ·help people move, they would pay him.· There was a guy
·8· ·down the street, he would help clean out his garage, he
·9· ·would pay him.
10· · · · Q.· ·So, just odd jobs?
11· · · · A.· ·So, just odd ends, yeah.
12· · · · Q.· ·What type of student was Isaiah?
13· · · · A.· ·Excellent student.· He got good grades.· He
14· ·always -- he was the student that -- he didn't have to
15· ·study and he would pass his tests.
16· · · · Q.· ·Do you have any of his high school
17· ·transcripts or any of that?
18· · · · A.· ·I don't.
19· · · · Q.· ·Okay.· Would you be willing to sign a release
20· ·so we could obtain those?
21· · · · A.· ·Yes.
22· · · · Q.· ·Okay.· And so, when you say "good grades," As
23· ·and Bs, Cs and Bs?
24· · · · A.· ·Cs and -- Cs and Bs average.
25· · · · Q.· ·Was he ever put on any type of academic


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·1· ·probation?
·2· · · · A.· ·Not that I could remember.· But I know he did
·3· ·class -- class clown.· He would get in trouble for
·4· ·certain things.
·5· · · · Q.· ·So, discipline for acting up, huh?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·Yeah?· Okay.· Did you ever have to go to the
·8· ·school and meet with somebody about his behavior?
·9· · · · A.· ·Once.· So, long story.· He had a -- I had my
10· ·bullets in the bag when I moved to Las Vegas and they
11· ·were, like, tied into a bag at the top of the closet.
12· ·No weapon, just -- just the bullets.
13· · · · · · ·And I guess one of them fell in his shoe, in
14· ·one of his gym shoes.· So, he had it in his bag.· So,
15· ·when he pulled the gym shoe out, the bullet fell out
16· ·the gym shoe and, of course, everybody made a big scene
17· ·about it and he got in trouble for that.
18· · · · Q.· ·For just having a bullet, huh?
19· · · · A.· ·Yeah.
20· · · · Q.· ·Did he have a gun on him?
21· · · · A.· ·No gun.
22· · · · Q.· ·Maybe he could throw it.
23· · · · · · ·Any other discipline that you were aware of
24· ·for -- after high school?
25· · · · A.· ·Not that I can remember, no.


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·1· · · · Q.· ·Okay.· But he did finish high school?
·2· · · · A.· ·Yes, he did.
·3· · · · Q.· ·Now, did he get a diploma or a GED?
·4· · · · A.· ·A diploma.
·5· · · · Q.· ·And just if you know, did he graduate on
·6· ·time, like, when he normally would?
·7· · · · A.· ·Maybe a few months off.
·8· · · · Q.· ·Okay.
·9· · · · A.· ·Yes.
10· · · · Q.· ·Understanding that -- well, what year did he
11· ·graduate?
12· · · · A.· ·'21.
13· · · · Q.· ·Okay.
14· · · · A.· ·So, right before.
15· · · · Q.· ·Okay.· So, he really didn't have time to
16· ·start his life; correct?
17· · · · A.· ·Correct.
18· · · · Q.· ·Okay.· Did he ever talk to you about what he
19· ·hoped to do with his life or what his aspirations were?
20· · · · A.· ·He was going to the army, actually.· He took
21· ·the practice ASVAB.· He was supposed to go take the
22· ·real ASVAB and then he caught COVID.
23· · · · Q.· ·Did he ever tell you what he wanted to be
24· ·when he became an adult or --
25· · · · A.· ·Engineer.


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·1· · · · Q.· ·Did you ever have to call the police on
·2· ·Isaiah?
·3· · · · A.· ·No.
·4· · · · Q.· ·Okay.
·5· · · · · · ·And let's see.· I think his juvenile arrest,
·6· ·was that in August of 2021?
·7· · · · A.· ·August of '21, no.
·8· · · · Q.· ·Okay.
·9· · · · · · ·What was the reason that Isaiah left your
10· ·home in November of 2021?
11· · · · A.· ·We got into a dispute about a neighbor down
12· ·the street, and he left with the neighbor down the
13· ·street.· I thought it would blow over and he would come
14· ·home.· But the incident happened, so...
15· · · · Q.· ·Are you aware of any other arrests of Isaiah
16· ·besides the stolen car incident?
17· · · · A.· ·No.
18· · · · Q.· ·Okay.· And what was the problem with the
19· ·neighbor?
20· · · · A.· ·So, my daughter and her daughter got into a
21· ·fight.· And Isaiah was being a -- a boy, and he was
22· ·kind of instigating the fight.· And, yeah, the lady
23· ·came to my house after the fight, because we stayed,
24· ·again, four doors down from each other, and it just
25· ·kind of got escalated from there.


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·1· · · · Q.· ·And what was your problem with Isaiah
·2· ·where -- did you kick him out of the house?
·3· · · · A.· ·It more was like -- if you want to go be with
·4· ·them, go be with them, then, and he chose to go be with
·5· ·them.
·6· · · · Q.· ·So, like, a mutual parting?
·7· · · · A.· ·A mutual parting.
·8· · · · Q.· ·Okay.· Where in the heat of a moment, you're,
·9· ·like, get out of here, well, I want to go, that sort of
10· ·thing?
11· · · · A.· ·Yes.
12· · · · Q.· ·Okay.
13· · · · · · ·Prior to him leaving the home, were you ever
14· ·concerned about the friends or who he was hanging out
15· ·with?
16· · · · A.· ·Yes.
17· · · · Q.· ·To your knowledge, was Isaiah ever associated
18· ·or part of a gang?
19· · · · A.· ·No.
20· · · · Q.· ·And what were your concerns with his friends?
21· · · · A.· ·Just -- the friends just to me were bad
22· ·apples.· Just -- like I said, the joyriding thing,
23· ·right there, that was -- you don't need to be around
24· ·them.· Things like that.
25· · · · Q.· ·Okay.· And, I mean, was he a normal teenage


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·1· ·boy who pushed back on that?
·2· · · · A.· ·Of course, yes.
·3· · · · Q.· ·Okay.· Was he ever disrespectful to you?
·4· · · · A.· ·Never.
·5· · · · Q.· ·How would you describe him -- your
·6· ·relationship with him?
·7· · · · A.· ·Me and Isaiah was really, really, really
·8· ·close.· Like, he was almost, like, kind of the man of
·9· ·the household.· I didn't have to ask him to cook,
10· ·clean.· He baby-sat my -- the youngest -- my youngest
11· ·son.· He put everything together; bookshelves,
12· ·anything.· Anything he would put -- he could put
13· ·together.· Yeah, very, very close.· Very close.
14· · · · Q.· ·How was he as an older brother?
15· · · · A.· ·Great older -- great older brother.· It's
16· ·amazing the amount of videos that they -- that they had
17· ·together.· Yeah, they were super close.
18· · · · Q.· ·What type of hobbies and things did Isaiah
19· ·enjoy doing?
20· · · · A.· ·Skating.· He loved basketball -- even though
21· ·he couldn't play basketball, he loved, loved
22· ·basketball.
23· · · · Q.· ·Why couldn't he play basketball?
24· · · · A.· ·He just was bad.
25· · · · Q.· ·Oh.


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·1· · · · A.· ·He was just bad.
·2· · · · Q.· ·Okay.· So, he was not a good basketball
·3· ·player, but he enjoyed it?· Okay.
·4· · · · A.· ·But he loved basketball.· Yeah.
·5· · · · Q.· ·Yeah.
·6· · · · · · ·And did you and him have any, like, special
·7· ·hobbies or things you enjoyed to do together?
·8· · · · A.· ·Amusement parks.· We had just, actually, went
·9· ·to kings and -- is it -- Castles N' Coasters in
10· ·Arizona.· We had drove up to Arizona as a family and we
11· ·had went to the amusement park.· So, that would be our
12· ·thing.· We would go to -- even in Cleveland, we would
13· ·go to Cedar Point.· And -- and I would trick him onto
14· ·rides that I knew he would be scared to ride.· So,
15· ·yeah.
16· · · · Q.· ·But you could get him on, huh?
17· · · · A.· ·I could -- yeah.· And then we would be going
18· ·up the hill, he was like, "You told me" -- I'm like,
19· ·"Yep, too late now, son."
20· · · · Q.· ·So, around the house, what responsibilities
21· ·did Isaiah have, if anything?
22· · · · A.· ·Everything.· He just -- he was just naturally
23· ·responsible when it came to being around the house.
24· ·Keeping his room clean, watching after his siblings.
25· ·Like I said, washing dishes, putting things together.


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·1· ·He just -- even -- it was -- I would be out, like,
·2· ·messing with the battery, "Mom, move, I got it."· He
·3· ·would even try to work on the car.
·4· · · · Q.· ·Now, I think I may have asked you.· I was
·5· ·wrong on the date about the joyriding.· Are you aware
·6· ·as to whether he was arrested in August of 2021 for
·7· ·possession?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.· And do you have any -- did he ever
10· ·tell you about that arrest?
11· · · · A.· ·He was not specific.· But, of course, I knew
12· ·about it because he was living with me.
13· · · · Q.· ·Okay.· Was that for possession of drugs?
14· · · · A.· ·No, no, no, no.
15· · · · Q.· ·Was that --
16· · · · A.· ·Oh, for the -- for the vehicle.
17· · · · Q.· ·Oh, for the vehicle.· Okay.· I'm with you.
18· ·Okay.
19· · · · A.· ·No drugs.
20· · · · Q.· ·Okay.· Did you ever know Isaiah to use drugs?
21· · · · A.· ·No.
22· · · · Q.· ·Okay.· Did he have a problem with stealing
23· ·cars?
24· · · · A.· ·No.
25· · · · Q.· ·Okay.· How -- what did he tell you about the


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·1· ·joyride incident?· Was he part of the people that took
·2· ·the car or did he just end up in the car?
·3· · · · A.· ·So, the people -- somebody else took the car
·4· ·and then he was -- they was taking turns driving the
·5· ·car.
·6· · · · Q.· ·Okay.
·7· · · · · · ·Now, we've received some records from the
·8· ·North Las Vegas Police Department about Isaiah after he
·9· ·left your home.· Had you reviewed those?
10· · · · A.· ·No.
11· · · · Q.· ·Okay.· There are allegations in there that he
12· ·was involved in car thefts in December of 2021.· Do you
13· ·have any information on that?
14· · · · A.· ·No.
15· · · · Q.· ·Did you ever have concerns that he was doing
16· ·criminal activity?
17· · · · A.· ·No.
18· · · · Q.· ·Now, you produced your text messages between
19· ·you and Isaiah.· And you're aware of that; correct?
20· · · · A.· ·Yes.
21· · · · Q.· ·Between August 16th of 2021 and
22· ·November 22nd of 2021, there was no text messages.· But
23· ·there's a lot before and after.· Was there a reason
24· ·there was no contact between you and him?· Because he
25· ·would have been living with you at that time.


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·1· · · · A.· ·Yes.· So, he lost his phone every other day.
·2· · · · Q.· ·Okay.
·3· · · · A.· ·And I had to keep getting him some cards or
·4· ·getting him new phones.· So...
·5· · · · Q.· ·Okay.· So, it was a lack of a phone, then?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·Okay.· This seemed to be because, I mean,
·8· ·there was plenty of texts between you.
·9· · · · · · ·At the time of his passing, North Las Vegas
10· ·was looking for him in an incident where allegedly he
11· ·stole a car and was stealing shoes from people.· He
12· ·would meet people to buy their Nikes and steal them.
13· ·And they had Isaiah as a suspect for that.· Do you have
14· ·any information about that?
15· · · · A.· ·No.
16· · · · Q.· ·Okay.
17· · · · · · ·Have you ever seen any of those records?
18· · · · A.· ·No.
19· · · · Q.· ·Okay.· But they did do a search warrant on
20· ·your home on December 21st; correct?
21· · · · A.· ·Yes.
22· · · · Q.· ·Did they tell you why they did a search
23· ·warrant on your home?
24· · · · A.· ·They were not specific, but they did say
25· ·something about some shoes and that they were looking


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·1· ·for shoes.· And that was pretty much it.
·2· · · · Q.· ·Okay.· Did you reach out to Isaiah after
·3· ·that?
·4· · · · A.· ·I did.
·5· · · · Q.· ·Okay.· Did he tell you what was going on?
·6· · · · A.· ·No.
·7· · · · Q.· ·All right.· Was that concerning to you?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.· And it was North Las Vegas that raided
10· ·your house; correct?
11· · · · A.· ·Yes.
12· · · · Q.· ·Okay.· Any complaints about the way they
13· ·handled that situation?
14· · · · A.· ·No.
15· · · · Q.· ·Okay.· Do you know if they found anything?
16· ·Did they take anything?
17· · · · A.· ·They didn't find anything, no.
18· · · · Q.· ·Okay.· And you told them that you had kicked
19· ·Isaiah out and that his belongings were in the garage;
20· ·correct?
21· · · · A.· ·Yes.
22· · · · Q.· ·Okay.· And, again, this is not -- you know,
23· ·I'm not meaning to pry or -- I got kids, okay?· So -- I
24· ·got one I don't talk to.
25· · · · · · ·At that point in time, was it just a cooling


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·1· ·off period between you and Isaiah or were you done with
·2· ·him?· What was your thought process around that period?
·3· · · · A.· ·Cooling off period.
·4· · · · Q.· ·Okay.· Because you still remained in contact
·5· ·with him; correct?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And, I mean, obviously, you were concerned
·9· ·about the life he was living?
10· · · · A.· ·I was concerned about the people that he was
11· ·hanging with.
12· · · · Q.· ·Okay.· And is that the situation you're
13· ·talking about with the neighbor where it was, like,
14· ·pick the friends or our family and like a teenager, he
15· ·picked his friends?
16· · · · A.· ·Yes.
17· · · · Q.· ·Okay.
18· · · · · · ·Now, you also told the police on the body cam
19· ·video that you were the one who turned Isaiah in for
20· ·stealing the car; correct?
21· · · · A.· ·So, no.
22· · · · Q.· ·Okay.
23· · · · A.· ·I found a bunch of credit cards.
24· · · · Q.· ·Okay.
25· · · · A.· ·And I just handed them the credit cards.


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·1· · · · Q.· ·Oh, okay.· That Isaiah had?
·2· · · · A.· ·Yeah -- I don't know who -- he has friends
·3· ·over, I don't know whose credit cards they were.· But I
·4· ·didn't want them in my home, so I gave them to the
·5· ·officers.
·6· · · · Q.· ·And so, were you concerned about Isaiah being
·7· ·in a life of crime at this point or did you think he
·8· ·was just the victim of bad friends?
·9· · · · A.· ·Victim of bad friends, for sure.
10· · · · Q.· ·And were you ever able to have conversations
11· ·with him that were productive about his friends?
12· · · · A.· ·Yes.
13· · · · Q.· ·Okay.· And what was his response?
14· · · · A.· ·"Mom, they're not that bad."· "They are bad."
15· ·But, yes, he would tell me that his friends were not
16· ·that bad, they weren't doing anything.· "We -- all we
17· ·do is play video games and play basketball."
18· · · · Q.· ·And did the police -- the North Las Vegas
19· ·police ever give you any information on Isaiah, why
20· ·they were looking for him, what they thought he had
21· ·done?
22· · · · A.· ·Just stealing the shoes.
23· · · · Q.· ·Okay.· And did they ever follow up with you?
24· · · · A.· ·No.
25· · · · Q.· ·Did they damage any property in your house?


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·1· · · · A.· ·No.
·2· · · · Q.· ·Did you ask Isaiah whether he was robbing
·3· ·people for their shoes?
·4· · · · A.· ·No.
·5· · · · Q.· ·Okay.· You never had a conversation with him?
·6· · · · A.· ·No.· I actually called him after the incident
·7· ·and I was like, "What are you doing, what's going on?"
·8· ·And he said, "I didn't do anything.· I don't know why
·9· ·they were there."· So, he denied the allegations.
10· · · · Q.· ·Did you believe him?
11· · · · A.· ·Yes.
12· · · · Q.· ·Now, to your knowledge, when you lived with
13· ·Isaiah, did he ever have firearms?
14· · · · A.· ·No.
15· · · · Q.· ·Okay.· Did you keep guns in the house?
16· · · · A.· ·I have one.
17· · · · Q.· ·Okay.· A former cop with only one gun, that's
18· ·not a lot.· You must have an arsenal.
19· · · · A.· ·I did not want to have any more guns, really,
20· ·after that.· Yeah.
21· · · · Q.· ·Okay.· Did you ever talk to Isaiah about
22· ·guns?
23· · · · A.· ·Yes.
24· · · · Q.· ·Okay.· In what capacity?· What did you say to
25· ·him?


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·1· · · · A.· ·Just that, you know, be careful, don't, you
·2· ·know, have guns, don't be around guns, accidents can
·3· ·happen.· It's dangerous.· You don't have a CCW, you
·4· ·have to be careful.· You could just -- as a black man
·5· ·walking the street, you have a gun on you, not carrying
·6· ·it properly, police can detain you, you can get shot.
·7· ·We had multiple conversations about that.
·8· · · · Q.· ·Okay.· And -- but you never personally saw
·9· ·Isaiah with a gun?
10· · · · A.· ·Correct.
11· · · · Q.· ·Okay.· Did you ever take him out shooting
12· ·with your gun or train him in gun use?
13· · · · A.· ·No.
14· · · · Q.· ·Did you ever see him on social media with
15· ·firearms?
16· · · · A.· ·Yes.
17· · · · Q.· ·Okay.· When?
18· · · · A.· ·I don't know specific dates.· I just know
19· ·that it was him and a group of friends.
20· · · · Q.· ·And was that concerning?
21· · · · A.· ·Yes.
22· · · · Q.· ·Did you talk to him about that?
23· · · · A.· ·Yes.
24· · · · Q.· ·What did he say, if anything?
25· · · · A.· ·"It wasn't my gun.· We just was playing with


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·1· ·it."· I'm like, "No, so many incidents where people,
·2· ·you know, accidentally shoot themselves and their
·3· ·friends."
·4· · · · Q.· ·Now, when North Las Vegas went through his
·5· ·Instagram, they found numerous messages from Isaiah
·6· ·bragging about stealing cars and shoes.· Were you aware
·7· ·of those?
·8· · · · A.· ·I'm not.
·9· · · · Q.· ·Okay.
10· · · · · · ·And so, to your knowledge, you had no
11· ·information about any types of criminal activity he was
12· ·involved in, besides the one car he stole as a
13· ·juvenile; correct?
14· · · · A.· ·Correct.
15· · · · Q.· ·And with respect to this -- the credit cards
16· ·that were not his, you don't know if those were his or
17· ·a friend's, but they ended up in your house?
18· · · · A.· ·Correct.
19· · · · Q.· ·Okay.· And you turned those over to the
20· ·police?
21· · · · A.· ·Yes.
22· · · · Q.· ·And you were never accused of any wrongdoing?
23· · · · A.· ·No.
24· · · · Q.· ·Okay.
25· · · · · · ·When was the last time you physically saw


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·1· ·Isaiah?
·2· · · · A.· ·In November.
·3· · · · Q.· ·And was that when the final straw -- where he
·4· ·left?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·Okay.· And was that a bad parting?· Did you
·7· ·leave on bad terms?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.· But then you kind of -- it kind of
10· ·softened; right?
11· · · · A.· ·Yes.
12· · · · Q.· ·Okay.· And then you had a text message
13· ·relationship?
14· · · · A.· ·And talking on the phone, yes.
15· · · · Q.· ·Okay.· How often would you talk with him on
16· ·the phone after he left?
17· · · · A.· ·He didn't really have a phone -- well, he had
18· ·a phone, but he had a SIM card, again, so he had to
19· ·talk on Wi-Fi.· But we were talking about maybe once or
20· ·twice a week.
21· · · · Q.· ·So, when you would talk to him during that
22· ·time period, what type of topics would you cover?
23· · · · A.· ·Just how you're doing, what you doing, are
24· ·you okay, are you safe.· He'd say, yes.
25· · · · Q.· ·Is there -- let's see, so it would have been


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·1· ·about five or six weeks before his passing that he
·2· ·left; correct?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·Okay.· So, it was five or six weeks that you
·5· ·didn't see him?
·6· · · · A.· ·Correct.
·7· · · · Q.· ·Is there a reason why you didn't see each
·8· ·other, meet up for lunch or anything?· Did it just work
·9· ·out that way or...
10· · · · A.· ·It just worked out that way.· No specific
11· ·reason.· He was actually supposed to meet with me to
12· ·come get a SIM card, but -- yeah.
13· · · · Q.· ·What about the holidays, Christmas and
14· ·New Year's, was that unusual that you didn't spend
15· ·Christmas with him?
16· · · · A.· ·It is.
17· · · · Q.· ·Okay.· Was that the only Christmas you didn't
18· ·spend with him?
19· · · · A.· ·That's the only Christmas.
20· · · · Q.· ·Okay.· Did you ever ask him to come spend
21· ·Christmas with you?
22· · · · A.· ·I didn't.
23· · · · Q.· ·Okay.· Did he ever ask you to come spend
24· ·Christmas?
25· · · · A.· ·He didn't.


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·1· · · · Q.· ·Okay.
·2· · · · · · ·Do you know where Isaiah was staying during
·3· ·those five or six weeks?
·4· · · · A.· ·With Kwame Crockett.
·5· · · · Q.· ·Kwame?
·6· · · · A.· ·Kwame.· He was the other person in the
·7· ·apartment.
·8· · · · · · ·(The court reporter requested clarification
·9· · · · · · ·of the prior testimony.)
10· · · · · · ·THE WITNESS:· Kwame is K-w-a-m-e.
11· ·BY CRAIG ANDERSON, ESQ:
12· · · · Q.· ·And in the 3050 South Nellis apartment?
13· · · · A.· ·Correct.· But that's not where they were
14· ·living, that's just where they were together.
15· · · · Q.· ·Okay.· But Kwame is the individual who was
16· ·with him on the day of the incident?
17· · · · A.· ·Yes.
18· · · · Q.· ·Okay.· Where were him and Kwame staying, if
19· ·you know?
20· · · · A.· ·With his mom.
21· · · · Q.· ·Kwame's mom.
22· · · · A.· ·Kwame's mother.
23· · · · Q.· ·Do you have a relationship with Kwame's mom?
24· · · · A.· ·I do not.
25· · · · Q.· ·Okay.· Prior to the incident, did you?


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·1· · · · A.· ·No.
·2· · · · Q.· ·Okay.
·3· · · · · · ·Do you know how Isaiah was supporting himself
·4· ·during those five to six weeks?
·5· · · · A.· ·I don't.
·6· · · · Q.· ·Okay.· Did he ask you for money during that
·7· ·time?
·8· · · · A.· ·He did not.
·9· · · · Q.· ·Okay.
10· · · · · · ·Besides the raid in December with the
11· ·North Las Vegas, did any police officers ever come to
12· ·your home and ask you about Isaiah or talk to you on
13· ·other occasions?
14· · · · A.· ·You said after the raid?
15· · · · Q.· ·Well, not counting the raid.· I know that you
16· ·had contact --
17· · · · A.· ·Okay.
18· · · · Q.· ·-- with the police on that day.· Other than
19· ·that day, did any police officers ever come to your
20· ·home before his passing?
21· · · · A.· ·Oh, before his passing?
22· · · · Q.· ·Yeah.
23· · · · A.· ·No -- before his passing -- well, when they
24· ·arrested him for the juvenile.
25· · · · Q.· ·Okay.· But they never came to your home


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·1· ·looking for him --
·2· · · · A.· ·No.
·3· · · · Q.· ·-- during the month of December?
·4· · · · A.· ·After the raid.
·5· · · · Q.· ·After his passing?
·6· · · · A.· ·Before his passing.
·7· · · · Q.· ·Okay.
·8· · · · A.· ·So, the raid, that happened in December, of
·9· ·my home.
10· · · · Q.· ·Okay.
11· · · · A.· ·The officer came by -- he didn't come looking
12· ·for Isaiah specifically, he just came to see if -- they
13· ·wanted to ask me if they could search my -- like, where
14· ·he -- where his common areas was, even though he wasn't
15· ·there to see if they could find a key fob.· And I let
16· ·them in.
17· · · · Q.· ·Okay.· And you let them search?
18· · · · A.· ·Yeah, I let them search it.
19· · · · Q.· ·Okay.
20· · · · · · ·So, before we get into the incident, let me
21· ·give you a fair opportunity to talk about Isaiah.
22· ·Because I understand the last month of his life would
23· ·have been rough between the two of you; correct?· Not
24· ·the best?
25· · · · A.· ·I mean, at that point, of January, we were


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·1· ·fine.
·2· · · · Q.· ·Okay.
·3· · · · A.· ·Like, we were supposed to be meeting up and
·4· ·probably would have had a conversation about him coming
·5· ·home.· And, yeah -- so, we were -- we were fine.
·6· · · · Q.· ·Okay.· So, ignoring that time period, okay,
·7· ·before he moved out or you kicked him out, you've kind
·8· ·of touched on it.· But what would you like to tell me
·9· ·about Isaiah as a person?
10· · · · A.· ·Oh, man.· He was a sweetheart.· He helped
11· ·everybody in the community.· He always wanted to help,
12· ·like, his friends -- like, they got kicked out or they
13· ·were having problems at home, "Mom, can they come live
14· ·with me?"· So, he was just -- he just helped everybody.
15· ·Just -- that was his -- always been his personality.
16· ·He would see some older lady with some trash, he'd get
17· ·the trash for her.· Just --
18· · · · Q.· ·What was his personality like?· Was he
19· ·serious, was he jovial?
20· · · · A.· ·Always joking.· Always got jokes.
21· · · · Q.· ·Did he have significant others or dating
22· ·relationships?
23· · · · A.· ·He did.
24· · · · Q.· ·Okay.· Anyone steady?
25· · · · A.· ·One.


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·1· · · · Q.· ·Okay.
·2· · · · A.· ·One girl.
·3· · · · Q.· ·And how long was he with her?
·4· · · · A.· ·I'm not sure how long they were together.
·5· · · · Q.· ·Okay.· Did you meet her?
·6· · · · A.· ·I did.
·7· · · · Q.· ·Okay.· So, did you see him interact with her?
·8· · · · A.· ·Once.
·9· · · · Q.· ·Okay.· What other things did he enjoy?· Did
10· ·he enjoy video games, hunting, fishing, you know,
11· ·bowling?
12· · · · A.· ·Video games for sure.· He would play video
13· ·games all day and night.· And, again, he liked going
14· ·skating.· He would go skating, museum parks.
15· · · · Q.· ·When you say skating, like, roller skating?
16· · · · A.· ·Roller skating.· Yeah, he used to go roller
17· ·skating.· Let's see, what else?· Basketball, again.
18· ·What else did he do?
19· · · · · · ·Oh, he'd draw.· He -- he was a really -- he
20· ·used to draw really, really good.· So, he was very
21· ·artistic.· He would, like, make these stickers that you
22· ·can, like -- like, of movies, like the -- the -- the
23· ·front cover of a movie and he would put them on a wall.
24· ·So, he did a lot of stuff.
25· · · · Q.· ·What video games did he like to play?


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·1· · · · A.· ·Let's see.· What is it?· The military one
·2· ·where they be shooting -- I don't know the name of
·3· ·them.· I don't remember.
·4· · · · Q.· ·And did he have any friends you liked?
·5· · · · A.· ·No.
·6· · · · Q.· ·Okay.· What about Kwame, what's -- do you
·7· ·know Kwame?
·8· · · · A.· ·I did not know Kwame before the incident.
·9· · · · Q.· ·Okay.· Do you know him now?
10· · · · A.· ·I do.
11· · · · Q.· ·Has Kwame ever told you what happened the day
12· ·of the incident?
13· · · · A.· ·He will not talk about it.
14· · · · Q.· ·Okay.· Did he -- ever tell you why they were
15· ·at that apartment?
16· · · · A.· ·No -- oh, why Kwame and Isaiah was there?
17· · · · Q.· ·Yeah.
18· · · · A.· ·Yes.
19· · · · Q.· ·Why they were at the 3050 Nellis Boulevard --
20· · · · A.· ·Yes.
21· · · · Q.· ·Why were they were?
22· · · · A.· ·Because they had a curfew.· Their curfew was
23· ·I believe 9:30.· They didn't make curfew.· They called
24· ·mom at 10:30 p.m. and mom said, "Y'all did not make
25· ·curfew," so she stuck to her no.


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·1· · · · Q.· ·So, the curfew restriction was placed on by
·2· ·Kwame's mom?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·Okay.· It wasn't, like, part of his
·5· ·probation?
·6· · · · A.· ·No.
·7· · · · Q.· ·Okay.
·8· · · · · · ·And do you know who was renting that
·9· ·apartment, who the -- the person on the lease was?
10· · · · A.· ·I do not.
11· · · · Q.· ·Do you know how they had access to it?
12· · · · A.· ·I do not.
13· · · · Q.· ·Okay.· And Kwame has never told you about
14· ·that?
15· · · · A.· ·No.
16· · · · Q.· ·Okay.· And has Kwame ever talked to you at
17· ·all about the incident?
18· · · · A.· ·No.
19· · · · Q.· ·Okay.· He's never told you what he heard or
20· ·what he saw?
21· · · · A.· ·He said he didn't hear anything, he didn't
22· ·see anything.
23· · · · Q.· ·Okay.
24· · · · · · ·Are you still in contact with Kwame?
25· · · · A.· ·His mom.


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·1· · · · Q.· ·Okay.· How old's Kwame, if you know?
·2· · · · A.· ·I think he's a year younger than Isaiah.· So,
·3· ·he would be 20.
·4· · · · Q.· ·And did he provide any information about what
·5· ·he and Isaiah were doing that day, why they missed
·6· ·curfew, like, what type of activities they were doing?
·7· · · · A.· ·No.
·8· · · · Q.· ·Okay.· Have you met Kwame?
·9· · · · A.· ·I have.
10· · · · Q.· ·Okay.· And is it that he won't talk to you --
11· ·what's your impression as to why he won't talk to you?
12· · · · A.· ·I really do not know.
13· · · · Q.· ·And you would agree with me that the date of
14· ·the incident is January 10, 2022?
15· · · · A.· ·Yes.
16· · · · Q.· ·And kind of a stupid question, but an
17· ·important one.· You were not present at the moment --
18· ·at the time of the shooting; correct?
19· · · · A.· ·No.
20· · · · Q.· ·Okay.· When was the last time that you would
21· ·talk to Isaiah before January 10, 2022?
22· · · · A.· ·January 5th.
23· · · · Q.· ·And just if you recall, what was the nature
24· ·of that conversation?
25· · · · A.· ·We were talking about Christmas,


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·1· ·Thanksgiving, what we both did.· New Year's -- he was
·2· ·asking what did we do for New Year's Eve, and then how
·3· ·he was doing, how I was doing, how was his siblings
·4· ·doing, if he was looking for a job.
·5· · · · Q.· ·Was -- in your conversations with Isaiah, did
·6· ·he ever tell you that he was concerned for his own
·7· ·safety?
·8· · · · A.· ·No.
·9· · · · Q.· ·There was one text message where you and he
10· ·have a dialogue about him parking away from the house
11· ·and him saying that he didn't want people to know where
12· ·he lived.· Do you remember that?
13· · · · A.· ·Yes.
14· · · · Q.· ·Was he concerned for his safety?
15· · · · A.· ·No.
16· · · · Q.· ·Okay.· Why would he not want people to know
17· ·where he lived?
18· · · · A.· ·Probably because -- again, the type of --
19· ·type of people he was hanging around.· But I always
20· ·told him, do not -- do not have people in my home.· So,
21· ·maybe that was why.· But yeah.
22· · · · Q.· ·Well, and you know his personality.· If he
23· ·was doing something concerning, would he want to
24· ·protect his siblings and you from people?
25· · · · A.· ·No.


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·1· · · · Q.· ·He wouldn't want to protect you?
·2· · · · A.· ·I mean, he would, but he would --
·3· · · · Q.· ·Yeah, how --
·4· · · · A.· ·How can I word it -- yeah, he would.
·5· · · · Q.· ·Let me word my question differently.· Because
·6· ·it's a horrible question.· I'm just -- I'm trying to --
·7· · · · A.· ·Yeah.
·8· · · · Q.· ·-- we're talking about a thought process of
·9· ·someone we don't know.· But to me, he seems like the
10· ·type of person that would not want to --
11· · · · A.· ·Correct.
12· · · · Q.· ·-- endanger his siblings and you.· So, do you
13· ·believe he was that type of a person?
14· · · · A.· ·Yes.
15· · · · Q.· ·Okay.· And I was just wondering what that was
16· ·about, where he didn't want people to know where he
17· ·lived.
18· · · · · · ·So, on January 10th, you did not know that he
19· ·was staying in the 3050 Nellis apartment; correct?
20· · · · A.· ·I did not know.
21· · · · Q.· ·Okay.· Had you ever been to that apartment?
22· · · · A.· ·No.
23· · · · Q.· ·Okay.· How far was that apartment from your
24· ·home?
25· · · · A.· ·About 25, 27 minutes.


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·1· · · · Q.· ·Okay.· So, a decent distance?
·2· · · · A.· ·Yes.
·3· · · · Q.· ·And we know now that Isaiah was in possession
·4· ·of a firearm on that day; correct?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·That wasn't your gun, was it?
·7· · · · A.· ·No.
·8· · · · Q.· ·Okay.· Do you know where he got that gun?
·9· · · · A.· ·I do not know.
10· · · · Q.· ·Okay.
11· · · · · · ·Had you -- did you know of Kwame before this
12· ·date?
13· · · · A.· ·No.
14· · · · Q.· ·Okay.
15· · · · · · ·Besides Kwame, have you ever talked to anyone
16· ·who knew why he was at that apartment?
17· · · · A.· ·No.
18· · · · Q.· ·Have you talked to any witnesses as to what
19· ·happened that day besides Kwame?
20· · · · A.· ·No.
21· · · · Q.· ·Okay.· Have any of the other neighbors ever
22· ·spoken with you?
23· · · · A.· ·The neighbors of -- at the 3050 --
24· · · · Q.· ·3050, correct.
25· · · · A.· ·No.


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·1· · · · Q.· ·Okay.
·2· · · · · · ·How did you learn -- because you showed up on
·3· ·scene; correct?
·4· · · · A.· ·Yes.
·5· · · · Q.· ·Okay.· So, just walk me through what happened
·6· ·that night.
·7· · · · A.· ·So, it started circulating on social media.
·8· ·I guess rest in peace to Zay.· Kwame contacted the
·9· ·neighbor that we got into the dispute about and told
10· ·them that Isaiah was killed by the police.· After he
11· ·was released out of the police custody.· And then the
12· ·neighbor came down and told me.
13· · · · Q.· ·So, how long after the incident was this?
14· ·Was it hours?
15· · · · A.· ·Yes.· 9:00 a.m.
16· · · · Q.· ·Okay.· So, when you went there, the scene was
17· ·very static, like, they were just investigating?
18· · · · A.· ·Yes.
19· · · · Q.· ·And so, you -- what time did it happen?
20· · · · A.· ·At about 5:00 a.m.
21· · · · Q.· ·Okay.· So, about four hours after?
22· · · · A.· ·Yes.
23· · · · Q.· ·Okay.· And you learned from a neighbor who
24· ·learned from Kwame?
25· · · · A.· ·Correct.· And then I had my sister -- well,


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·1· ·my best friend go to the scene because she works at the
·2· ·post office directly across the street.· Because she
·3· ·was at work, so she went across the street.· And then
·4· ·she asked one of the -- the officers about -- was there
·5· ·a kid dead, and they were, like, "No, there's no one
·6· ·dead in the house."
·7· · · · · · ·And she was like, "No, I know for sure
·8· ·there's someone that's dead in the house -- or the
·9· ·apartment."· And he kept denying it.· So, then I ended
10· ·up sending her a copy of his ID -- Isaiah's ID.
11· ·Because I had his ID.
12· · · · · · ·And then at that point, the officer was like,
13· ·"Okay, wait, let me get a supervisor."· And then they
14· ·got a supervisor and I was on speaker.· Supervisor --
15· ·she asked, like, basically, what was going on and then
16· ·he just kept saying, like, "She can come to the scene,
17· ·she can come to the scene."
18· · · · Q.· ·What -- so, let me back up a little bit.
19· ·When your neighbor comes to the house, what do they
20· ·tell you?· What do they know?
21· · · · A.· ·Isaiah was killed by the police.
22· · · · Q.· ·Okay.· So, they just came and said your son
23· ·was just killed?
24· · · · A.· ·Yes.
25· · · · Q.· ·Any other information as to how it happened?


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·1· · · · A.· ·No.
·2· · · · Q.· ·Okay.· And so, then you get in touch with --
·3· ·I'm sorry, is it your --
·4· · · · A.· ·My -- my best friend.
·5· · · · Q.· ·Your best friend.· Okay.· And she goes to the
·6· ·scene?
·7· · · · A.· ·Yes.
·8· · · · Q.· ·Okay.· And ends up in some dialogue with the
·9· ·police where they get you in contact with her and they
10· ·ask you to come to the scene?
11· · · · A.· ·Yes.
12· · · · Q.· ·And you did?
13· · · · A.· ·Yes.
14· · · · Q.· ·And that took about a half hour to get there?
15· · · · A.· ·Yes.
16· · · · Q.· ·Tell me what happens when you get to the
17· ·scene.
18· · · · A.· ·I get to the scene.· A lady comes up to me,
19· ·once I, you know, addressed who I was.· She was the
20· ·investigator for -- I believe the body-cam footage.
21· ·She talked to me.· She just basically said they don't
22· ·know what happened, they were investigating, and all I
23· ·could say was, "Was your body cam on?"· That's all I
24· ·wanted to -- that's all I wanted to know.· I didn't
25· ·care about nothing else but that because at that point


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·1· ·the incident was already done.
·2· · · · · · ·At that point, they pulled me to the side.
·3· ·They had an officer put me in a car in the -- they were
·4· ·parked in the parking lot of the post office.· And he
·5· ·pretty much started interrogating me, asking me why
·6· ·Isaiah was there, why would he pull a gun out, what
·7· ·school did he go to, where did he live.· Just -- did he
·8· ·have -- have you ever seen him with a gun.· Just those
·9· ·type of questions.
10· · · · Q.· ·And this was recorded; correct?
11· · · · A.· ·This was recorded.
12· · · · Q.· ·Okay.· And do you have any complaints with
13· ·the way that officer treated you?
14· · · · A.· ·I honestly feel like that wasn't the time and
15· ·the place to handle that situation like that.· Because
16· ·he -- he kind of forced me -- while he understood that
17· ·I was emotional and I don't think that that should have
18· ·happened in that -- in that aspect.· Other -- he was
19· ·trying to be as polite as he could possibly be.· Yeah.
20· · · · Q.· ·Okay.· So, your complaint about that is that
21· ·it was the timing of the --
22· · · · A.· ·It was the -- and he was trying to force me
23· ·to say things that I didn't know.
24· · · · Q.· ·Okay.· Like, what did you feel like he was
25· ·trying to force you to say?


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·1· · · · A.· ·Why he was there, is he in any -- oh, any
·2· ·gangs.· Yeah, why he was shooting a gun, did he live
·3· ·there, how did he know Kwame.· He was asking me
·4· ·about -- I'm assuming Wattsel Rembert, the guy they
·5· ·were looking for.
·6· · · · Q.· ·Yes.
·7· · · · A.· ·And so, they kept saying, "Do you know?"
·8· · · · · · ·"No."
·9· · · · · · ·"Do you know him?· You sure you don't know
10· ·him?"
11· · · · · · ·"No."· So...
12· · · · Q.· ·And in hindsight, did you ever know
13· ·Wattsel Rembert?
14· · · · · · ·(The court reporter requested clarification
15· · · · · · ·of the prior testimony.)
16· · · · · · ·CRAIG ANDERSON, ESQ:· Wattsel, W-a-t-t-s-e-l.
17· · · · · · ·THE WITNESS:· Yes.· Or it's W-a-t-s-e-l.
18· · · · · · ·CORRINE MURPHY, ESQ.:· Yeah, I think it's one
19· ·T, two Ls.
20· · · · · · ·CRAIG ANDERSON, ESQ.:· One T, two Ls.
21· ·Wattsel Rembert, R-e-m-b-e-r-t.
22· ·BY CRAIG ANDERSON, ESQ:
23· · · · Q.· ·And since this incident, have you ever met or
24· ·talked to Wattsel Rembert?
25· · · · A.· ·No.


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·1· · · · Q.· ·Okay.· And so, if I understand your testimony
·2· ·correctly, you felt like they were trying to force you
·3· ·into connecting Isaiah to Wattsel?
·4· · · · A.· ·Yes.
·5· · · · Q.· ·And just if you know, do you know if Isaiah
·6· ·knew Wattsel?
·7· · · · A.· ·He -- as far as me asking friends, no.
·8· · · · Q.· ·Did any of his friends ever tell you why they
·9· ·used that apartment?
10· · · · A.· ·No.
11· · · · Q.· ·Okay.· I've been told by the police that it
12· ·was a flophouse where people hung out.· Have you ever
13· ·heard that?
14· · · · A.· ·No.
15· · · · Q.· ·Now, did you say they took Kwame to jail?
16· · · · A.· ·They detained him --
17· · · · Q.· ·Okay.
18· · · · A.· ·-- for questioning, I believe.
19· · · · Q.· ·And did you see Kwame at the scene?
20· · · · A.· ·No.
21· · · · Q.· ·And when you first spoke with the officer who
22· ·you said was in charge of body cam, was she wearing a
23· ·body cam?
24· · · · A.· ·I do not remember.
25· · · · Q.· ·Was she in uniform or in plain clothes?


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·1· · · · A.· ·She -- she might have been in some type of
·2· ·uniform.· But I don't remember.
·3· · · · Q.· ·Okay.
·4· · · · · · ·And did they tell you what happened?
·5· · · · A.· ·They did not.
·6· · · · Q.· ·Okay.
·7· · · · · · ·Any other conversations with any Metro
·8· ·officers that day besides the interview and your
·9· ·conversation with the first officer you spoke to?
10· · · · A.· ·No.
11· · · · Q.· ·Okay.· Did you have subsequent conversations
12· ·with them?
13· · · · A.· ·No.
14· · · · Q.· ·Did they ever bring you in to watch the body
15· ·cam or ask you more questions?
16· · · · A.· ·They did.
17· · · · Q.· ·Okay.· Did you go?
18· · · · A.· ·Yes.
19· · · · Q.· ·Okay.· How long after the event was that?
20· · · · A.· ·About three days.
21· · · · Q.· ·Okay.· And tell me what happened then.
22· · · · A.· ·They scheduled me a time to come in and
23· ·review the body cam.· I got to the -- I guess it's the
24· ·main district down on MLK.
25· · · · Q.· ·MLK.· So, you had, like, the building A on --


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·1· · · · A.· ·It was the first building.
·2· · · · Q.· ·Yes.
·3· · · · A.· ·It was the -- yes.· So, they escorted me.
·4· ·They said I could have three people.· So, it was me, my
·5· ·sister, and Kwame's mom.· They told me that they were
·6· ·going to show me the body cam, but they showed me only
·7· ·a portion -- so, basically, what they -- they released
·8· ·to the news press is what they showed me.· So, they
·9· ·didn't show me the full body-cam footage.
10· · · · · · ·I asked them could I purchase it or could I
11· ·get a copy of it, and then they told me that it was
12· ·$200 an hour for me to have the body cam.· So, they
13· ·only showed me, like, each officer body worn cameras.
14· ·And then just the -- like I said, basically what was
15· ·released, like, the first few seconds.· They didn't go,
16· ·really, past the shooting part.
17· · · · Q.· ·Okay.
18· · · · · · ·Did they narrate the video, did they give you
19· ·information, or did they just let you watch it?
20· · · · A.· ·They just let me watch it.
21· · · · Q.· ·Okay.· Did they allow you to ask questions?
22· · · · A.· ·They did.
23· · · · Q.· ·Okay.· And did they answer them?· Like, what
24· ·type of questions did you ask them?· What did they say?
25· · · · A.· ·I do not remember.


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·1· · · · Q.· ·Okay.· And in watching the body cam, did you
·2· ·have any thoughts?
·3· · · · A.· ·Yes.· My thoughts were, "Why were they there?
·4· ·How did this start?· Why did they go in so aggressive?"
·5· ·Yeah, those were my main concerns.
·6· · · · Q.· ·Okay.· And did -- and those are your
·7· ·thoughts.· Did you ask those questions to the officers?
·8· · · · A.· ·I don't remember if I asked the questions or
·9· ·not.
10· · · · Q.· ·Okay.
11· · · · A.· ·Yeah.
12· · · · Q.· ·I mean, this is still close in time to the
13· ·passing; correct?
14· · · · A.· ·Yes.
15· · · · Q.· ·Like, you're still in shock?
16· · · · A.· ·Yes.
17· · · · Q.· ·Okay.· How long were you there?
18· · · · A.· ·Not long.· Maybe an hour.
19· · · · Q.· ·Okay.· Do you have any complaints about the
20· ·way they treated you that day?
21· · · · A.· ·No.
22· · · · Q.· ·Okay.· Did you feel like they were trying to
23· ·cover up anything or --
24· · · · A.· ·At that time, no.
25· · · · Q.· ·Okay.· At any time, did you feel like they


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·1· ·were -- the Las Vegas Metropolitan Police Department
·2· ·attempted to cover up any of this?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·Okay.· When?
·5· · · · A.· ·So, I actually went and tried to get a copy
·6· ·of the policies and procedures for the search warrants.
·7· ·They kept -- "Oh, it was a search warrant, it was an
·8· ·arrest warrant, it was a search warrant."· They -- they
·9· ·was not clear about whether it was a search warrant or
10· ·an arrest warrant.
11· · · · · · ·At that point, they wouldn't give me a copy
12· ·of the policies and procedures.· He told me I had to go
13· ·online and request it.· And then that particular --
14· ·that was one of the officers in charge.· He told me --
15· ·he asked me, "Did you watch the full body cam?"· And I
16· ·said -- and I do not know that officer's name.
17· · · · · · ·And I said, "They wouldn't let me watch the
18· ·full.· They only gave me a -- parts of it."· And he
19· ·said, "You need to watch it."· And then, at that point,
20· ·I tried to request records for the body cam.· They
21· ·wouldn't release it.· Then we -- we asked for the
22· ·actual warrant.· We kept asking, they would not release
23· ·it.
24· · · · · · ·I had to get a lawyer to try to help with
25· ·getting the warrant.· They still wouldn't release it.


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·1· ·They kept saying that the warrant was sealed.· And so,
·2· ·because it was tied to a homicide, they were unable to
·3· ·release that warrant to me.
·4· · · · · · ·And so, at that point, I figured something
·5· ·was wrong with the warrant.· Because why would you not
·6· ·release it.· And then if you left a copy of that
·7· ·warrant, as you're supposed to at the scene, then it
·8· ·would have been public record if somebody had a copy of
·9· ·that warrant.
10· · · · Q.· ·And you knew this from your police
11· ·training --
12· · · · A.· ·Correct.
13· · · · Q.· ·-- or the basics from your police training;
14· ·correct?
15· · · · A.· ·Correct.
16· · · · Q.· ·Had you ever served a warrant in your time as
17· ·a police officer?
18· · · · A.· ·No.
19· · · · Q.· ·Okay.
20· · · · · · ·Let me back up real quick.· When you left the
21· ·police department, are you eligible for rehire there?
22· · · · A.· ·No.
23· · · · Q.· ·Okay.· Were you ever disciplined as a police
24· ·officer?
25· · · · A.· ·No.


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·1· · · · Q.· ·And I might have asked you this.· Were you
·2· ·ever sued as a police officer?
·3· · · · A.· ·You asked me that.· No.
·4· · · · Q.· ·Okay.
·5· · · · · · ·And so, you're trying to find this
·6· ·information and you felt like at that point they're
·7· ·stonewalling you?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Okay.
10· · · · · · ·Did you attend the public fact finding review
11· ·of the shooting?
12· · · · A.· ·I did.
13· · · · Q.· ·Okay.· And I've watched that.· Is there
14· ·anything about that that stood out to you that you
15· ·thought was dishonest, wrong, or something you didn't
16· ·know?· Just any feelings on that?
17· · · · A.· ·The fact that they did the FIT report -- and,
18· ·again, I -- I did ask the question of, "Where's the
19· ·warrant?"· They said that they couldn't -- again, it
20· ·was sealed.· And then I said, "Well, can you explain to
21· ·me why you were there," and then they said, "Because we
22· ·had a warrant."· They wouldn't give me specific details
23· ·on why -- why they were there.
24· · · · Q.· ·Okay.
25· · · · · · ·And was there a family representative that


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·1· ·handled your questions at the public fact finding
·2· ·review?
·3· · · · A.· ·No.· I was able to ask those questions.
·4· · · · Q.· ·Yourself?
·5· · · · A.· ·Yeah.
·6· · · · Q.· ·Oh, okay.
·7· · · · · · ·And with utilizing your experience as a
·8· ·police officer -- and I just want your opinions -- what
·9· ·do you think the police did wrong with respect to their
10· ·handling of the situation?
11· · · · A.· ·So, again, going into the unit that
12· ·aggressive on a search warrant, for one; the fact that
13· ·you didn't give him time to even come to the door.· So,
14· ·the whole knock and announce was improperly done.
15· · · · · · ·The fact that I also watched the body-cam
16· ·footage -- I'm trying -- where the officer knocked out
17· ·the window, he kind of came to the -- to the left.· He
18· ·never looked in.· So, he couldn't see anything.· So
19· ·that was your job, as an officer, to be able to see
20· ·everything inside the unit.
21· · · · · · ·He -- he did not do that.· Yeah.· When they
22· ·were announcing, they didn't say the -- the unit number
23· ·the first time.
24· · · · · · ·(The court reporter requested clarification
25· · · · · · ·of the prior testimony.)


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·1· · · · · · ·THE WITNESS:· They did not say the unit
·2· ·number the first time.· They didn't say it until the
·3· ·second.
·4· · · · · · ·THE COURT REPORTER:· "They didn't say it" --
·5· · · · · · ·CORRINE MURPHY, ESQ.:· They did not say it
·6· ·until the second.· Yeah.
·7· ·BY CRAIG ANDERSON, ESQ:
·8· · · · Q.· ·And, again, I apologize if I asked you.· Is
·9· ·it -- when you were in police training, did you ever
10· ·receive training on how to do knock and announce
11· ·warrants?
12· · · · A.· ·No.
13· · · · Q.· ·Okay.· And did you ever receive any training
14· ·on dynamic entry search warrants?
15· · · · A.· ·No.
16· · · · Q.· ·Did you ever receive training on how to get a
17· ·search warrant?
18· · · · A.· ·No.
19· · · · Q.· ·Okay.
20· · · · · · ·Okay.· So, when you got to the scene that
21· ·day, had Isaiah's body already been removed?
22· · · · A.· ·No.
23· · · · Q.· ·It was still inside?
24· · · · A.· ·Correct.
25· · · · Q.· ·Okay.· Did they let you in to identify him?


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·1· · · · A.· ·No.
·2· · · · Q.· ·Okay.· Did you want to?· Kind of -- kind of
·3· ·an unfair question.
·4· · · · A.· ·If I would have been allowed to, I would
·5· ·have.
·6· · · · Q.· ·Okay.· So, where was Isaiah eventually taken?
·7· · · · A.· ·Straight to the coroner's office.
·8· · · · · · ·CRAIG ANDERSON, ESQ:· We've been going about
·9· ·an hour and 15 minutes.· I'm almost done.· But we're
10· ·probably now to the part that will be the most
11· ·difficult.· I'm just going to ask you about the impact
12· ·on you, you know, damages-type questions.· Would you
13· ·like to take a break?· Probably have, like, another
14· ·half hour maybe.
15· · · · · · ·THE WITNESS:· We can continue.
16· ·BY CRAIG ANDERSON, ESQ:
17· · · · Q.· ·Did you ever personally visualize Isaiah's
18· ·body, like, at the morgue or somewhere?
19· · · · A.· ·Yes.
20· · · · Q.· ·Okay.
21· · · · · · ·Did you have a funeral?
22· · · · A.· ·I did.
23· · · · Q.· ·Okay.· Where?
24· · · · A.· ·At Jones Funeral Home.
25· · · · Q.· ·And I believe you produced this, but did you


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·1· ·have out-of-pocket expenses for that funeral?· Like,
·2· ·you paid money?
·3· · · · A.· ·Just for the obituaries.
·4· · · · Q.· ·Okay.
·5· · · · · · ·Did you ever set up a GoFundMe or anything
·6· ·for Isaiah?
·7· · · · A.· ·I did not.
·8· · · · Q.· ·And what type of funeral or memorial did you
·9· ·have for Isaiah?
10· · · · A.· ·It was a funeral at a -- like, a really big
11· ·church, flowers.· It was a nice service.
12· · · · Q.· ·How many people came?
13· · · · A.· ·About 200.
14· · · · Q.· ·Did his father?
15· · · · A.· ·No.
16· · · · Q.· ·Why not?
17· · · · A.· ·He was incarcerated.
18· · · · Q.· ·Oh, okay.
19· · · · · · ·Jeremy, is that who you're currently married
20· ·to?
21· · · · A.· ·Yes.
22· · · · Q.· ·Did he come?
23· · · · A.· ·No.
24· · · · Q.· ·Okay.· Why didn't he come?
25· · · · A.· ·Because he was in Louisiana.


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·1· · · · Q.· ·Okay.· Was Isaiah's siblings there?
·2· · · · A.· ·Yes.
·3· · · · Q.· ·Okay.· Is Isaiah -- did you bury him or
·4· ·cremate him?
·5· · · · A.· ·I cremated him.
·6· · · · Q.· ·Okay.· Where are his ashes?
·7· · · · A.· ·On the side of the bed.
·8· · · · Q.· ·Do you have all the ashes or did you divide
·9· ·them up?
10· · · · A.· ·I have all the ashes.
11· · · · Q.· ·Besides the obituary money we just talked
12· ·about, do you have any out-of-pocket expenses
13· ·associated with Isaiah's death?
14· · · · A.· ·No.
15· · · · Q.· ·At the time of Isaiah's death, you were not
16· ·helping him with his finances?
17· · · · A.· ·No.
18· · · · Q.· ·Okay.· And he was not helping you with your
19· ·finances?
20· · · · A.· ·Okay, I was paying his cell phone bill.
21· · · · Q.· ·Okay.
22· · · · · · ·Did Isaiah have any life insurance?
23· · · · A.· ·No -- oh, yes, he did.
24· · · · Q.· ·Okay.· I've never had anyone answer yes to
25· ·that question.


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·1· · · · A.· ·Yes.
·2· · · · Q.· ·Why did he have life insurance?
·3· · · · A.· ·My grandmother got life insurance on all of
·4· ·my older kids when they were born.
·5· · · · Q.· ·Oh, okay.· How much was the policy?
·6· · · · A.· ·About 20,000.
·7· · · · Q.· ·Okay.· And did you receive that money?
·8· · · · A.· ·My grandmother.
·9· · · · Q.· ·Oh, she got it?
10· · · · A.· ·My grandmother got the money.
11· · · · Q.· ·Your grandmother?
12· · · · A.· ·My grandmother.
13· · · · Q.· ·So, it skipped you and your mother and went
14· ·to the grandmother?
15· · · · A.· ·Yeah.
16· · · · Q.· ·Good for her.
17· · · · · · ·Did Isaiah have any bank accounts?
18· · · · A.· ·No.
19· · · · Q.· ·Any stocks?
20· · · · A.· ·No.
21· · · · Q.· ·And you have not had any conversations with
22· ·any of Isaiah's friends, what he was doing that night,
23· ·why he was at the apartment; correct?
24· · · · A.· ·No.
25· · · · Q.· ·Okay.· Have any come forward with information


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·1· ·about Isaiah's life in the month prior to his passing
·2· ·that you didn't know about?
·3· · · · A.· ·No.
·4· · · · Q.· ·Have we covered all of Isaiah's hobbies that
·5· ·he enjoyed doing?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·Okay.· And you said he wanted to be an
·8· ·engineer?
·9· · · · A.· ·Yes.
10· · · · Q.· ·And what did he want to do with that?
11· · · · A.· ·He just said engineering.· I'm assuming build
12· ·buildings.· Because he talked about architecture a lot.
13· · · · Q.· ·Have you sought any counseling or psychiatric
14· ·care as a result of this incident?
15· · · · A.· ·No.
16· · · · Q.· ·Do you intend on it?
17· · · · A.· ·Maybe in the future.
18· · · · Q.· ·Okay.
19· · · · · · ·Have any of your children received any
20· ·psychiatric care or counseling as a result of this
21· ·incident?
22· · · · A.· ·Yes.
23· · · · Q.· ·Which ones?
24· · · · A.· ·Ta'nya.
25· · · · Q.· ·And --


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·1· · · · A.· ·Chasity.
·2· · · · Q.· ·I'm sorry.
·3· · · · A.· ·I'm sorry.
·4· · · · · · ·And Rashad.
·5· · · · Q.· ·Okay.· And what type of counseling did they
·6· ·receive?
·7· · · · A.· ·They just went and talked to a counselor.
·8· ·That was pretty much --
·9· · · · Q.· ·Do they know what happened?
10· · · · A.· ·Yes.
11· · · · Q.· ·Okay.· Have they watched the body cam?
12· · · · A.· ·Yes.
13· · · · Q.· ·Have you incurred any other out-of-pocket
14· ·expenses?· Like, money that you had to pay as a result
15· ·of this incident?
16· · · · A.· ·No.
17· · · · Q.· ·This is an incredibly unfair question.· So,
18· ·we will try to work through it.· But can you tell me
19· ·how this has impacted your life.
20· · · · A.· ·I can't sleep.· I haven't slept in, really,
21· ·two years.· I have the visions of him laying on the
22· ·floor, how they handled the body, him being on the
23· ·table at the coroner's office.· Like, I can't -- it'll
24· ·just be, like -- it'll be a regular day and I'm a
25· ·flight attendant so I'm in the air with no service a


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·1· ·lot, so I think -- and the flashes of the body.
·2· · · · · · ·Man, I went through watching videos of -- on
·3· ·YouTube of how does it feel to die because I want to
·4· ·know, like, was he in pain.· So, yeah.· I've just --
·5· ·also, you know, my children -- oh my God -- for months,
·6· ·they couldn't sleep.· So, they would run in my room
·7· ·screaming and crying.· And my daughter, Ta'nya, they're
·8· ·birthday twins, birthday -- on the exact same day,
·9· ·exactly one year apart.· So, she took it --
10· · · · Q.· ·Ta'nya and Isaiah?
11· · · · A.· ·Ta'nya and Isaiah.
12· · · · Q.· ·Oh, okay.
13· · · · A.· ·Yeah.· She took it really hard.· Really,
14· ·really hard.· So, it was -- many nights where they
15· ·slept in the bed -- all -- all of them, the last three
16· ·would sleep with me.· Nightmares, the dreams that I
17· ·have that he telling me he loved me.· Just him not
18· ·being in the house.· Sorry.
19· · · · Q.· ·No, you're fine.
20· · · · · · ·Do you have any personal items of Isaiah that
21· ·you keep?
22· · · · A.· ·I do.
23· · · · Q.· ·Okay.· And what are those items?
24· · · · A.· ·I have his outfit for his first interview
25· ·that he ever had.· I have his earrings the day he died.


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·1· ·All his shoes, all his clothes that was left at my
·2· ·home.· I have those.· I have his blanket that he had,
·3· ·his favorite blanket.
·4· · · · · · ·I just -- just parted from his bed.· It's
·5· ·because it's pretty hard for me to --
·6· · · · Q.· ·Did you kind of -- did he have his own room
·7· ·at your house?
·8· · · · A.· ·He did.
·9· · · · Q.· ·Now, I know you boxed up his belongings and
10· ·placed them in the garage; correct?
11· · · · A.· ·Uh-huh.
12· · · · Q.· ·Okay.· Do you still have those belongings?
13· · · · A.· ·I do.
14· · · · Q.· ·Okay.
15· · · · · · ·Any other way that it has impacted you that
16· ·we have not talked about?
17· · · · A.· ·Besides the fact that I can't sleep, huh-uh.
18· · · · Q.· ·Do you --
19· · · · A.· ·Very emotional.
20· · · · Q.· ·Do you ever take medication for sleeping?
21· · · · A.· ·No medication.
22· · · · Q.· ·Just tough it out?
23· · · · A.· ·Yes.
24· · · · Q.· ·When did you get married?
25· · · · A.· ·We got married July 22nd of this year.


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·1· · · · Q.· ·Okay.· Is that a good thing?· Has that helped
·2· ·at all or...
·3· · · · A.· ·He's very supportive.
·4· · · · Q.· ·Okay.
·5· · · · A.· ·He just -- he just -- because he -- he was,
·6· ·like, in a lot of shock.· So, he just shared his
·7· ·moments today and watched the body-cam footage.
·8· · · · Q.· ·Have you had any other contact with the
·9· ·Las Vegas Metropolitan Police Department besides the
10· ·incidences we've already talked about?· Has anyone come
11· ·and seen you, answered your questions or --
12· · · · A.· ·No.
13· · · · Q.· ·Okay.
14· · · · · · ·Did anyone from the Las Vegas Metropolitan
15· ·Police Department ever tell you personally anything
16· ·that they felt they had done wrong for this incident?
17· · · · A.· ·No.
18· · · · Q.· ·Have you spoke about this incident with any
19· ·of your law enforcement acquaintances?
20· · · · A.· ·Yes.
21· · · · Q.· ·Okay.· Have any of them provided you any
22· ·insight into what happened?
23· · · · A.· ·No.· So, one of the officers that's actually
24· ·SWAT, he was military and -- many years, and he just
25· ·pretty much told me there's a lot of things that


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·1· ·they've done wrong.· He didn't get into specifics to
·2· ·it.
·3· · · · Q.· ·Okay.· And just to get -- have you spoke to
·4· ·any expert witnesses that have been retained for this
·5· ·lawsuit?· Have you personally spoken to any of them?
·6· · · · A.· ·No.
·7· · · · Q.· ·Okay.· I think I'm almost done.· Let me just
·8· ·check real quick.
·9· · · · · · ·During the five weeks that you and him were
10· ·estranged, where you didn't physically see him, did his
11· ·siblings ever see him, to your knowledge?
12· · · · A.· ·Not that I know of.
13· · · · Q.· ·Okay.
14· · · · · · ·Ms. Alexander, I really appreciate your time.
15· ·I'm sorry to meet you under these circumstances, but I
16· ·appreciate the way you've handled this.· And I'm all
17· ·done.
18· · · · A.· ·Thank you.
19· · · · · · ·THE COURT REPORTER:· No questions, Counsel?
20· · · · · · ·CORRINE MURPHY, ESQ.:· No, thank you.
21· · · · · · ·CRAIG ANDERSON, ESQ:· Thank you.
22· · · · · · ·THE COURT REPORTER:· Did you want a copy,
23· ·Ms. Murphy?
24· · · · · · ·CORRINE MURPHY, ESQ.:· Yes, please.· E-tran.
25· · · · · · ·(Proceedings concluded at 11:56 AM.)


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·1· · · · · · · · · ·CERTIFICATE OF DEPONENT

·2· ·PAGE· · ·LINE· · ·CHANGE· · · · · · · · REASON

·3· ·_______________________________________________________

·4· ·_______________________________________________________

·5· ·_______________________________________________________

·6· ·_______________________________________________________

·7· ·_______________________________________________________

·8· ·_______________________________________________________

·9· ·_______________________________________________________

10· ·_______________________________________________________

11· ·_______________________________________________________

12· ·_______________________________________________________

13· ·_______________________________________________________

14· ·_______________________________________________________

15· ·_______________________________________________________

16· ·_______________________________________________________

17· ·_______________________________________________________

18· · · · · · · · · · · *· ·*· ·*· ·*· ·*

19· · · · · · ·I, LATIA ALEXANDER, deponent herein, do hereby certify and

20· ·declare the within and foregoing transcription to be my deposition in

21· ·said action; that I have read, corrected, and do hereby affix my

22· ·signature to said deposition under penalty of perjury.

23
· · · · · · · · · · · · ·___________________________________
24· · · · · · · · · · · · · · LATIA ALEXANDER, Deponent

25· ·Job No. 1011


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·1· · · · · · · · · ·CERTIFICATE OF REPORTER

·2· ·STATE OF NEVADA· )
· · · · · · · · · · · )
·3· ·COUNTY OF CLARK· )

·4· · · · · · ·I, Mickey Marez, a duly commissioned and licensed court

·5· ·reporter, Clark County, State of Nevada, Registered Professional

·6· ·Reporter and Certified Realtime Reporter with the National Court

·7· ·Reporters Association, do hereby certify:· That I reported the taking

·8· ·of the deposition of the witness, LATIA ALEXANDER, commencing on

·9· ·Friday, August 23, 2024, at 10:33 a.m.;

10· · · · · · ·That prior to being examined, the witness was, by me, duly

11· ·sworn to testify to the truth.· That my said shorthand notes were

12· ·thereafter transcribed into typewriting and that the typewritten

13· ·transcript of said deposition is a complete, true, and accurate

14· ·transcription of said shorthand notes.

15· · · · · · ·I further certify that I am not a relative or employee of an

16· ·attorney or counsel or any of the parties, nor a relative or employee

17· ·of an attorney or counsel involved in said action, nor a person

18· ·financially interested in the action; that a request has been made to

19· ·review the transcript.

20· · · · · · ·IN WITNESS THEREOF, I have hereunto set my hand in my office

21· ·in the County of Clark, State of Nevada, this 6th day of September,

22· ·2024.

23

24· · · · · ·_______________________________________
· · · · · · ·Mickey Marez, RPR, CRR, NV CCR No. 950
25


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